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14
                               UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
16
                                    SAN FRANCISCO DIVISION
17
   HARIRAM SHANKAR, Individually and on ) Case No. 3:21-cv-06028-JD
18 Behalf of All Others Similarly Situated,     )
                                                ) AMENDED CLASS ACTION COMPLAINT
19                               Plaintiff,     ) FOR VIOLATIONS OF THE FEDERAL
                                                ) SECURITIES LAWS
20          vs.                                 )
                                                ) DEMAND FOR JURY TRIAL
21 ZYMERGEN INC., JOSH HOFFMAN,                 )
   ENAKSHI SINGH, STEVEN CHU, JAY T. )
22 FLATLEY, CHRISTINE M. GORJANC,               )
   TRAVIS MURDOCH, MATTHEW A.                   )
23 OCKO, SANDRA E. PETERSON, ZACH               )
   SERBER, ROHIT SHARMA, SVF                    )
24 EXCALIBUR (CAYMAN) LIMITED, SVF )
   ENDURANCE (CAYMAN) LIMITED,                  )
25 SOFTBANK VISION FUND (AIV M1) L.P., )
   DATA COLLECTIVE II, L.P., DCVC               )
26 OPPORTUNITY FUND, L.P., TRUE                 )
   VENTURES IV, L.P., TRUE VENTURES             )
27 SELECT I, L.P., TRUE VENTURES SELECT )
   II, L.P., TRUE VENTURES SELECT III, L.P., )
28 TRUE VENTURES SELECT IV, L.P., J.P.          )


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 1 MORGAN SECURITIES LLC, GOLDMAN )
   SACHS & CO. LLC, COWEN AND           )
 2 COMPANY, LLC, BOFA SECURITIES,       )
   INC., UBS SECURITIES LLC, and LAZARD )
 3 FRÈRES & CO. LLC.,                   )
                                        )
 4                        Defendants.   )
                                        )
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 1            Lead Plaintiff Biao Wang (“Wang”) and Plaintiff West Palm Beach Firefighters’ Pension

 2 Fund (“WPBFPF”) (collectively, “Plaintiffs”), individually, and on behalf of all others similarly

 3 situated, by and through their attorneys, allege the following upon information and belief, except

 4 as to those allegations concerning Plaintiffs, which are alleged upon personal knowledge.

 5 Plaintiffs’ information and belief are based upon, among other things, their counsel’s investigation,

 6 which includes, without limitation: (a) review and analysis of regulatory filings made by

 7 Zymergen Inc. (“Zymergen” or the “Company”) with the United States Securities and Exchange

 8 Commission (“SEC”); (b) review and analysis of press releases, earnings call transcripts and media

 9 reports issued and disseminated by Zymergen; and (c) review of other publicly available

10 information concerning Zymergen, including transcripts of Zymergen presentations at investor

11 conferences, reports issued by analysts and articles in the financial press.

12 I.         NATURE OF THE ACTION AND OVERVIEW
13            1.         This is a Class action on behalf of persons and entities that purchased or otherwise

14 acquired Zymergen common stock pursuant and/or traceable to the registration statement and

15 prospectus (collectively, the “Registration Statement”) issued in connection with the Company’s

16 April 2021 initial public offering (“IPO” or “Offering”).              Plaintiffs pursue claims against

17 Defendants under the Securities Act of 1933 (“Securities Act”).

18            2.         Zymergen integrates computational and manufacturing technologies to design,

19 engineer and optimize microbes for industrial applications. The Company developed a platform
20 that treats the genome as a search space, using proprietary machine learning algorithms and

21 advanced automation to identify genetic changes that improve the economics for its customers’

22 bio-based products for a range of industries, including electronics, consumer care, chemicals,

23 materials, agriculture and pharmaceuticals. In addition, Zymergen’s platform is used to discover

24 novel molecules used to enable unique material properties. The Company was incorporated in

25 Delaware on April 24, 2013.

26            3.         The Company reported that it partnered with Nature to design, develop, and

27 commercialize bio-based breakthrough products that deliver extraordinary value to customers in a

28 broad range of industries, including electronics, consumer care and agriculture.               Zymergen
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 1 reported that its goal was to create new products with a proprietary platform that unlocked the

 2 design and manufacturing efficiency of biological processes with technology’s ability to rapidly

 3 iterate and control diverse functions. Zymergen called this process biofacturing and claimed it

 4 allowed the Company to create better products faster, cheaper and more sustainably than

 5 traditional chemistry by engineering microbes to make novel biomolecules that are the key

 6 ingredients in those products.

 7            4.         Zymergen completed its IPO on April 22, 2021. On April 23, 2021, the Company

 8 filed its prospectus on Form 424B4 with the SEC, which forms part of the Registration Statement.

 9 In the IPO, the Company sold approximately 18,549,500 shares of common stock at a price of

10 $31.00 per share, raising proceeds of approximately $575 million.           The Company received

11 proceeds of approximately $529.9 million from the Offering, net of approximately $40.3 million

12 of underwriting discounts and commissions and $4.9 million of Offering costs. The proceeds from

13 the IPO were purportedly to be used for working capital and other general corporate purposes,

14 including the continued investment in commercializing Zymergen’s existing products, launching

15 products in its pipeline and furthering the development of its biofacturing platform and technology.

16            5.         Following the completion of the IPO, on April 22, 2021, Zymergen’s stock began

17 trading on the NASDAQ under the stock symbol “ZY.” The Company had approximately

18 100.4 million shares of common stock outstanding and a market capitalization of approximately

19 $3 billion upon completion of the IPO. On April 29, 2021, the Company’s stock price traded as
20 high as $52 per share, increasing market capitalization to approximately $5.2 billion.

21            6.         As detailed herein, the Registration Statement was inaccurate and misleading,

22 contained untrue statements of material facts, omitted to state facts necessary to make the

23 statements made not misleading and omitted to state material facts required to be stated therein.

24 The untrue statements of material facts and omissions concerned the Company’s biofacturing

25 platform; the Company’s ability to create better products faster, cheaper and more sustainably

26 using the biofacturing platform; the product development process; the development status of 11

27 products in the Company’s product pipeline; the market opportunity for those products; and when

28 those products would generate revenue.
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 1            7.         The representations in the Registration Statement detailed below were materially

 2 misleading because, as the Company disclosed on August 3, 2021 and November 3, 2021,

 3 Zymergen was unable to produce products that could be sold at a profit when it created,

 4 manufactured and distributed the products on its own. In addition, the representations were

 5 materially misleading because Defendants failed to disclose that several key target customers had

 6 technical issues implementing Hyaline, the Company’s first and only product to be launched at the

 7 time of the IPO, into their manufacturing processes or that there was only a “hypothetical” near-

 8 term market for Hyaline due to there being “no hit product yet in the foldable display market.”

 9 Indeed, the Company abandoned Hyaline and another optical film product because there was a

10 smaller near-term market opportunity than represented in the Registration Statement and

11 abandoned all of the consumer care products because those products could not be sold at a profit

12 when Zymergen created, manufactured and distributed them on its own. As a result, Zymergen

13 did not generate product revenue in 2021 and 2022, as it represented in the Registration Statement.

14            8.         Defendants represented that Zymergen’s biofacturing platform could create better

15 products faster, cheaper and more sustainably than chemical and materials companies; that the

16 demand for innovative materials had never been greater; and that synthetic biology companies like

17 Zymergen were a better alternative to chemical and materials companies that struggled to innovate

18 because they used a limited molecular palette, had substantial capital expenditures and were among

19 the planet’s worst industrial polluters.
20            9.         Eleven Zymergen products were highlighted in the Registration Statement: three

21 optical film products and one bio-based epoxy product for the electronics industry; four consumer

22 care products, including a naturally derived insect repellent; and three agricultural products.

23 Defendants represented that these products were in various stages of development and described

24 the development process, representing that: (a) Zymergen’s business development personnel

25 worked with customers to define a set of properties for a material that the customers would find

26 valuable; then (b) designed and developed engineered microbes that manufactured the novel

27 biomolecule that would be a key ingredient in a breakthrough product; then (c) had Contract

28 Manufacturing Organizations (“CMOs”) manufacture the product; and finally (d) used
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 1 Zymergen’s sales force and marketing capabilities to contract with customers and sell the product

 2 to them.

 3            10.        In describing the product development process, Defendants highlighted Hyaline,

 4 the first and only product launched by Zymergen at the time of the IPO. They represented Hyaline

 5 was launched in December 2020, to customers in the electronic industry, which began the expected

 6 6- to 18-month product qualification process with multiple customers. Defendants emphasized the

 7 importance of the qualification process in Zymergen’s target markets and represented that Hyaline

 8 (and other products) would generate revenue after customers completed all aspects of the

 9 qualification process and decided to place an order for the product.

10            11.        Defendants represented that Hyaline was an optical film designed for electronics

11 companies to use for display touch sensors in personal devices and other applications and would

12 allow customers to make robust foldable touchscreens and high density flexible printed circuits.

13 Defendants represented that Hyaline was expected to generate revenue in the second half of 2021,

14 just a few months after the completion of the IPO, and that Zymergen’s global direct sales force

15 and a team of application sales engineers were working with customers on the sales qualification

16 process for Hyaline wherein customers would be able to validate the product and qualify it as a

17 standard component in their final electronic devices.

18            12.        Defendants also represented that other optical film products would generate

19 revenue following the 6- to 18-month qualification process and that the four consumer care
20 products and three agricultural products would generate revenue upon launch because a product

21 qualification process was unnecessary.

22            13.        Defendants represented that Zymergen would grow its business in several ways and

23 that it generally targeted products that could support annual sales of greater than $150 million.

24 Defendants assured investors that the market opportunity addressable by Zymergen’s biofacturing

25 platform was enormous and diverse – at least $1.2 trillion across 20 separate industries. They

26 represented that the market opportunity for the three industries being pursued with its 11 pipeline

27 products – electronics, consumer care and agriculture – was approximately $150 billion, including

28
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 1 the foldable display market for Hyaline being over $1 billion in 2020, and the market for insect

 2 repellent being over $1.5 billion.

 3            14.        The representations about Zymergen’s biofacturing platform; the Company’s

 4 ability to create better products faster, cheaper and more sustainably; the product development

 5 process; the development status of the 11 products in the product pipeline; the market opportunity

 6 for those products; and when those products would generate revenue were particularly important

 7 to investors given the Company’s precarious financial condition.            Zymergen reported just

 8 $15.4 million of revenue in 2019, and a net loss of $236.8 million. In 2020, Zymergen reported

 9 just $13.3 million of revenue and a net loss of $262.2 million. The increasing net losses caused

10 the Company to be insolvent as of December 31, 2020, with an accumulated deficit of

11 $773.7 million. The recurring losses and accumulated deficit meant Zymergen needed to raise

12 equity or debt to fund its operations until the Company could generate sufficient revenues to fund

13 its operations. That, in turn, caused the Company’s auditors to note that there was substantial

14 doubt about the Company’s ability to continue operating as a going concern.

15            15.        The Risk Factors contained in the Registration Statement were also materially

16 inaccurate and misleading. Defendants represented that various risks “could,” “would” or “might”

17 negatively impact Zymergen “if” they occurred. These representations were materially inaccurate

18 and misleading because the warned-of risks had already occurred and were negatively impacting

19 Zymergen at the time of the IPO.
20            16.        Beginning on August 3, 2021, less than four months after the completion of the
21 IPO, the Company revealed numerous material adverse facts that informed investors the

22 Registration Statement contained untrue statements of material facts and omitted material facts.

23 On that date, Zymergen issued a press release and held a conference call to provide a business

24 update regarding its commercial product pipeline and financial forecast. The Company reported

25 that: (i) there were issues with its commercial products pipeline that would impact the Company’s

26 delivery timeline and revenue projections; (ii) it was clear the commercial opportunity for the

27 Company’s first product, Hyaline, was less than expected; (iii) Zymergen’s Board of Directors

28 (the “Board”) had initiated a series of deep dives into the Company’s product pipeline and
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 1 development process; (iv) the Board anticipated that the roadmap and timelines for Zymergen’s

 2 follow-on products could also be impacted; (v) as a result of the foregoing, the Company no longer

 3 expected product revenue in 2021, and only expected immaterial product revenue in 2022; and

 4 (vi) without a firm pipeline of customers and visibility on commitments, the Company’s

 5 projections beyond 2022, were highly uncertain.

 6            17.        The Company provided details stating that, through its receipt of periodic updates

 7 regarding the Company’s progress toward its goals, the Board had learned of “significant

 8 execution challenges within the organization.” The Board had identified several contributing

 9 factors to the revisions of its plan for product delivery timelines and revenues. First, during the

10 quarter that the IPO was completed, several key target customers encountered technical issues in

11 implementing Hyaline into their manufacturing processes, resulting in a delay in the commercial

12 ramp of Hyaline. Second, the total addressable market for foldable display applications, the market

13 for Hyaline, was in an earlier stage than previously expected, with emerging data indicating a

14 smaller near-term market opportunity, with scaled demand pushed out in time and growing more

15 slowly than anticipated. Indeed, the Company admitted that there was no near-term market for

16 Hyaline and that the market was just “theoretical” because there was “no hit product yet in the

17 foldable display market.” Third, the Company’s commercial teams did not have significant insight

18 into the customer qualification process and into their customers and users, which resulted in

19 Zymergen’s forecasts overestimating near-term demand. As a result, the Company reported it was
20 already making substantial changes in the commercial team.

21            18.        Defendant Jay Flatley (“Flatley”), the Company’s acting Chief Executive Officer

22 (“CEO”), who replaced Defendant Josh Hoffman (“Hoffman”) after Hoffman was abruptly

23 terminated on August 2, 2021, acknowledged the obvious seriousness of the numerous unexpected

24 adverse disclosures, stating: “I want to perhaps state the obvious that we’re taking this situation

25 extremely seriously.” Flatley said that as soon as the Board learned of the problems, the Board

26 and management immediately started to work to fully understand the issues and began developing

27 a plan to address them, including the formation of dedicated committees, including a Strategic

28 Oversight Committee, which was working with expert advisors to conduct an in-depth review of
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 1 the Company’s operational, financial, product and commercialization efforts to facilitate the

 2 development of an updated strategic plan. That work was focused on: (i) a deep dive into the

 3 Company’s sales forecasting process to examine how the initial forecast was developed, where the

 4 issues arose and how to improve the process going forward; (ii) the retention of a number of

 5 outside experts to examine the robustness of the products coming out of the pipeline and their

 6 readiness for full commercialization; and (iii) digging into the Company’s long-term market

 7 opportunities to ensure the product pipeline was aligned with industry trends and customer

 8 demand. The Company was also developing a plan to reduce and align expenses with the change

 9 in the Company’s revenue expectations.

10             19.        In short, Flatley told investors that just about everything in the Registration

11 Statement concerning the development, commercial opportunity and sale of the 11 products in the

12 Company’s pipeline was not true and that Zymergen was now in the process of determining which

13 products and markets the Company would target in the future. In addition, Flatley acknowledged

14 Zymergen had not previously operated with transparency and openness, stating that the Company

15 would conduct a cultural assessment to ensure that there would be broad-based accountability

16 across the organization and would operate with transparency and openness. He said that the Board

17 and management were focused on reestablishing the credibility of the leadership team and the

18 Company and that Hoffman had been terminated, effective immediately, as part of the effort to

19 reestablish the credibility of the leadership team and the Company.
20             20.        The Company never claimed this material adverse information did not exist, or was

21 not known or knowable, at the time of the IPO. Indeed, the Company admitted the technical issues

22 several key customers encountered implementing Hyaline into their manufacturing processes

23 (which delayed the commercial ramp of the product and caused Zymergen to no longer expect any

24 product revenue in 2021, and only immaterial product revenue in 2022) were occurring during the

25 quarter the Company completed the IPO.

26             21.        Nor did the Company claim that the emerging data on the total addressable market

27 for foldable display applications (which indicated a smaller near-term market opportunity that was

28 growing less rapidly than anticipated) did not exist, or was not known or knowable, at the time of
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 1 the IPO. Other adverse disclosures show that the data did exist at the time of the IPO. Flatley’s

 2 admission on August 3, 2021, that there was no market for Hyaline and that it was just “theoretical”

 3 because there was “no hit product yet in the foldable display market” establishes that there was no

 4 market for Hyaline at the time of the IPO.

 5             22.        In addition, the Company admitted it did not have significant insight into the

 6 customer qualification process or their customers and users at the time of the IPO, which resulted

 7 in the Company’s forecasts overestimating near-term demand. As a result, Zymergen was: (i)

 8 making substantial changes in its commercial teams; (ii) conducting a deep dive into the

 9 Company’s sales forecasting process to examine how the initial forecasts were developed, where

10 the issues arose and how to improve that process going forward; and (iii) examining the robustness

11 of the products coming out of the Company’s pipeline and their readiness for full

12 commercialization.

13             23.        The Company also revealed that there were issues with the long-term opportunities

14 for its products, reporting that Zymergen was digging into the Company’s long-term market

15 opportunities to ensure the product pipeline was aligned with industry standards and customer

16 demand and that, with the assistance of a top-tier consulting firm, the Company was doing a full

17 assessment of Zymergen’s target markets and the fit of its products into the pipeline of those

18 markets, including an exploration of adjacent opportunities that could possibly provide new

19 revenue sources.
20             24.        Other disclosures on August 3, 2021, also demonstrate that the adverse information

21 about Hyaline, the total addressable market for foldable display applications, the commercial

22 teams’ lack of significant insight into the customer qualification process and their customers and

23 users and the resulting overestimated forecast of near-term demand for Zymergen products existed

24 at the time of the IPO, including that: (i) Zymergen would conduct a cultural assessment to ensure

25 there would be broad-based accountability across the organization; (ii) Zymergen was focused on

26 reestablishing the credibility of the leadership team and the Company; (iii) Hoffman had been

27 terminated as part of the effort to reestablish the credibility of the leadership team and the

28 Company; and (iv) the Company would operate with transparency and openness in the future.
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 1             25.        The reaction of analysts to the unexpected material adverse disclosures indicates

 2 that they believed the adverse information existed at the time of the IPO. Analysts were stunned

 3 by the numerous adverse disclosures, questioned the Company’s credibility during the August 3,

 4 2021 earnings call and issued reports after the earnings call, in which they downgraded the

 5 Company’s stock and questioned when the adverse information was known.

 6             26.        During the earnings call, one analyst stated the disclosures were “[o]bviously[] a

 7 disappointment for everybody” and “very surprising.” Another analyst asked: “[H]ow can we

 8 have any confidence whatsoever in anything that’s been put out there in terms of numbers or . . .

 9 the market opportunity?” Flatley acknowledged the lack of credibility was more than justified,

10 responding: “[T]otally fair that you question the credibility of any forecast we give you today.”

11             27.        After the earnings call, analysts issued reports in which they downgraded Zymergen

12 and also questioned the Company’s credibility. William Blair & Company analyst Matt Larew

13 (“Larew”) issued a report in which he downgraded Zymergen stock and wrote: “[G]iven the abrupt

14 and significant about-face just months after the IPO, we believe the company has destroyed its

15 credibility with investors.” In addition, he questioned how the adverse information about the

16 smaller near-term market opportunity for the foldable display market was not known at the time

17 of the IPO, writing:

18                     In our view, what is more confusing and concerning is commentary on
               the total addressable market for foldable display applications, which suggests a
19             smaller near-term market opportunity that is growing more slowly than
               anticipated. Frankly, we are not quite sure how the data could have changed so
20             much over such a short time (again, the company’s IPO filings were published
               less than four months ago), and at this point the company does not have enough
21             data to quell our concerns or give us any sense of what the company’s actual
               pipeline might look like following the in-depth review of the company’s
22             operational, financial, product, and commercialization efforts.

23             28.        Multiple government agencies, including the SEC, requested information from the

24 Company related to the unexpected adverse disclosures on August 3, 2021. Defendants failed to

25 disclose this material adverse information in Zymergen’s earnings releases or during the

26 Company’s earnings calls. Instead, this material adverse information was buried in the Company’s

27 3Q21 Report on Form 10-Q, filed with the SEC on November 15, 2021.

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 1             29.        Other facts strongly infer that the adverse information revealed on August 3, 2021,

 2 existed at the time of the IPO. The August 3, 2021 adverse disclosures were made just a little more

 3 than three months after the completion of the IPO on April 22, 2021. Many of the adverse

 4 disclosures related to the Company’s most important product, Hyaline, the first and only product

 5 in the launch phase of the product pipeline and the primary product featured in the Registration

 6 Statement. The impacts of the adverse disclosures on Zymergen’s business were devastating in

 7 magnitude, scope and duration. No product revenues would be generated in 2021, only immaterial

 8 product revenues would be generated in 2022, and projections beyond 2022 were “highly

 9 uncertain.” As investors would learn on November 3, 2021, six of the 11 products featured in the

10 Registration Statement, including Hyaline, would be discontinued and never generate any revenue

11 for the Company. Flatley admitted that dramatic steps were taken to operationally restructure and

12 transform the Company. The Company’s lenders required Zymergen to pay down its loan, shorten

13 the maturity date and deposit the remaining balance of the loan into a blocked account. Zymergen

14 laid off hundreds of employees; recorded millions of dollars of restructuring, severance and

15 impairment expenses; and was forced to develop a plan to conserve cash.

16             30.        Following these material adverse disclosures, the Company’s stock price

17 plummeted $26.58, or 75%, from $34.83 on August 3, 2021, to $8.25 on August 4, 2021, on

18 unusually large trading volume of more than 21.7 million shares. The decline wiped out more than

19 $2.7 billion of Zymergen’s market capitalization.
20             31.        Investors learned more adverse news in the following months. On September 23,

21 2021, Zymergen announced it was terminating approximately 120 employees as part of a

22 preliminary phase of the Company’s plan to reduce costs to align with the delayed revenue ramp

23 up previously disclosed on August 3, 2021. The Company also disclosed that it would incur an

24 estimated $4.5 million of severance and employee-related restructuring costs related to the

25 reduction in force.

26             32.        On September 30, 2021 and October 13, 2021, articles appeared in the financial

27 press likening Zymergen’s implosion to that of Theranos and reporting that Hoffman used

28 exaggerated financial figures and made overly optimistic projections about the Company’s
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 1 capabilities, both internally and externally. On October 13, 2021, Barron’s published an article

 2 titled “The Inside Story of How SoftBank-Backed Zymergen Imploded Four Months After Its

 3 $3 Billion IPO” and reported, in part:

 4             According to a former senior-level employee at Zymergen, Hoffman used
               exaggerated financial figures and made overly optimistic projections about the
 5             company’s capabilities, both internally and externally. The former employee – who
               retains a vested interest in the company – recalls Hoffman’s response when he was
 6             confronted about this behavior: “Never underestimate the power of the greater
               fool.”
 7
               33.        On October 21, 2021, Zymergen announced a second reduction in force of
 8
      approximately 100 employees, which would result in approximately $4.2 million of severance and
 9
      employee-related restructuring costs. In addition, the Company reported that it expected to incur
10
      impairment charges of $15 million for certain manufacturing equipment as a result of its
11
      restructuring activities and that it might incur additional restructuring and impairment charges in
12
      4Q21, including lease expenses.
13
               34.        On October 21, 2021, Zymergen also reported that it had amended its Credit
14
      Agreement after its lender notified the Company on August 16, 2021, that it was in default of the
15
      material adverse change section of the Amended and Restated Credit Agreement and Guaranty.
16
      The amended Credit Agreement required Zymergen to: (i) shorten the term of the Credit
17
      Agreement by moving the maturity date from December 19, 2024 to June 30, 2022; (ii) increase
18
      the amount of the liquidity covenant; (iii) make a $41 million payment, including a $35 million
19
      principal prepayment; and (iv) deposit the remaining outstanding balance of the loan plus accrued
20
      interest through the maturity date in a blocked account controlled by the Administrative Agent,
21
      which was subject to release from the blocked account upon the Administrative Agent’s
22
      completion of due diligence to its reasonable satisfaction regarding the Company’s anticipated
23
      operating costs and budget through the maturity date.
24
               35.        Investors also learned that Jed Dean, a co-founder of Zymergen and the Company’s
25
      Vice President of Operations and Engineering, was stepping down effective October 31, 2021.
26
               36.        On November 3, 2021, Zymergen revealed that it was discontinuing Hyaline, the
27
      main product featured in the Registration Statement, and all but one of the electronics film program
28
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 1 products. It also revealed that all of the consumer care program products, including the insect

 2 repellent product featured in the Registration Statement, were being discontinued. Thus, the

 3 Company revealed that six of the 11 products highlighted in the Registration Statement,

 4 including its main product, had been discontinued and would not generate any revenue for the

 5 Company.

 6             37.        The Company also revealed that its strategy of creating, manufacturing and

 7 distributing products on its own was untenable. Flatley acknowledged that was the reason

 8 Zymergen discontinued all of the consumer care products, and he admitted there was “no chance”

 9 the consumer care insect repellent product featured in the Registration Statement could be

10 profitable given the costs of manufacturing and distribution.

11             38.        The Company also revealed it would have run out of cash in 3Q21 had it not raised

12 $529.9 million from the IPO. Zymergen reported that its cash had declined from $588 million as

13 of June 30, 2021, to $496.2 million as of September 30, 2021, and that the Company reported a

14 net loss of $283.6 million for the nine months ending September 30, 2021.

15             39.        On November 3, 2021, Zymergen also failed to disclose that government agencies,

16 including the SEC, had requested information from the Company related to the unexpected adverse

17 disclosures on August 3, 2021. That material adverse information was buried in the Company’s

18 3Q21 Report on Form 10-Q filed with the SEC on November 15, 2021.

19             40.        On December 9, 2021, Seeking Alpha published an article titled “Zymergen: Total
20 Chaos.” The opening paragraph succinctly explained the dramatic change at Zymergen since the

21 IPO, which caused Class members to suffer millions of dollars in damages. It was reported that

22 Zymergen went from launching Hyaline and preparing to rapidly scale up production and revenue,

23 to a Company that had abandoned Hyaline and other products and was dramatically cutting

24 headcount and cash burn in an effort to avoid bankruptcy.

25             41.        During a presentation at a January 10, 2022 JPMorgan Healthcare Conference,

26 Flatley acknowledged that over the last five months Zymergen had taken dramatic steps to

27 operationally restructure and transform the business, including the discontinuation of a significant

28 number of programs and a reduction in the Company’s headcount from approximately 900 to 500.
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 1 He also acknowledged that the negative financial impact on Zymergen would continue for at least

 2 another year and possibly longer, stating that the Company thought it would begin to have product

 3 revenue in the 2023 timeframe.

 4             42.        Zymergen’s stock price has not recovered since the material adverse disclosures on

 5 August 3, 2021, closing at $3.84 on February 24, 2022.

 6             43.        As a result of Defendants’ wrongful acts and omissions and the precipitous decline

 7 in the market value of the Company’s securities, Plaintiffs and other Class members have suffered

 8 significant losses and damages.

 9 II.         JURISDICTION AND VENUE
10             44.        The claims asserted herein arise under and pursuant to §§11 and 15 of the Securities

11 Act (15 U.S.C. §§77k and 77o).

12             45.        This Court has jurisdiction over the subject matter of this action pursuant to 28

13 U.S.C. §1331, and §22 of the Securities Act (15 U.S.C. §77v).

14             46.        Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b). A

15 substantial part of the events or omissions giving rise to the claims herein occurred in this District

16 as Zymergen’s principal place of business is in Emeryville, California. Many of the other

17 Defendants reside in Northern California.

18             47.        In connection with the acts, transactions and conduct alleged herein, Defendants

19 directly and indirectly used the means and instrumentalities of interstate commerce, including the
20 United States mail, interstate telephone communications and the facilities of a national securities

21 exchange.

22 III.        PARTIES
23             48.        Biao Wang (“Wang”) is the Court-appointed Lead Plaintiff (ECF No. 69) and, as

24 set forth in the certification previously filed with the Court (ECF No. 35-3), purchased Zymergen

25 common stock pursuant or traceable to the Registration Statement issued in connection with the

26 Company’s IPO. Wang suffered damages as a result of the federal securities laws violations, the

27 untrue statements of material facts contained in the Registration Statement and the omissions of

28 material facts from the Registration Statement.
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 1             49.        Plaintiff West Palm Beach Firefighters’ Pension Fund (“WPBFPF”), as set forth in

 2 the certification previously filed with the Court (ECF No. 43-2), purchased Zymergen common

 3 stock pursuant or traceable to the Registration Statement issued in connection with the Company’s

 4 IPO. WPBFPF is a pension fund based in West Palm Beach, Florida that provides retirement

 5 benefits for firefighters. As of September 30, 2021, WPBFPF managed total assets in excess of

 6 $306 million on behalf of over 466 current employees, retirees and beneficiaries. WPBFPF

 7 suffered damages as a result of the federal securities laws violations, the untrue statements of

 8 material facts contained in the Registration Statement and the omissions of material facts from the

 9 Registration Statement.

10             50.        Defendant Zymergen Inc. (“Zymergen” or the “Company”) is incorporated under

11 the laws of Delaware with its principal executive offices located in Emeryville, California.

12 Zymergen’s shares trade on the NASDAQ under the stock symbol “ZY.”

13             51.        Defendant Josh Hoffman (“Hoffman”) was, at all relevant times, the CEO, director

14 and co-founder of the Company and signed or authorized the signing of the Company’s

15 Registration Statement filed with the SEC. Hoffman was terminated on August 2, 2021.

16             52.        Defendant Enakshi Singh (“Singh”) was, at all relevant times, the Chief Financial

17 Officer (“CFO”) of the Company and signed or authorized the signing of the Company’s

18 Registration Statement filed with the SEC.

19             53.        Defendant Steven Chu (“Chu”) was a director of the Company and signed or
20 authorized the signing of the Company’s Registration Statement filed with the SEC.

21             54.        Defendant Jay T. Flatley (“Flatley”) was a director of the Company and signed or

22 authorized the signing of the Company’s Registration Statement filed with the SEC. Flatley is

23 currently the acting CEO of the Company.

24             55.        Defendant Christine M. Gorjanc (“Gorjanc”) was a director of the Company and

25 signed or authorized the signing of the Company’s Registration Statement filed with the SEC.

26             56.        Defendant Travis Murdoch (“Murdoch”) was a director of the Company and signed

27 or authorized the signing of the Company’s Registration Statement filed with the SEC.

28
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 1             57.        Defendant Matthew A. Ocko (“Ocko”) was a director of the Company and signed

 2 or authorized the signing of the Company’s Registration Statement filed with the SEC.

 3             58.        Defendant Sandra E. Peterson (“S. Peterson”) was a director of the Company and

 4 signed or authorized the signing of the Company’s Registration Statement filed with the SEC.

 5             59.        Defendant Zach Serber (“Serber”) was the Chief Science Officer, a director and co-

 6 founder of the Company and signed or authorized the signing of the Company’s Registration

 7 Statement filed with the SEC.

 8             60.        Defendant Rohit Sharma (“Sharma”) was a director of the Company and signed or

 9 authorized the signing of the Company’s Registration Statement filed with the SEC.

10             61.        Defendants Hoffman, Singh, Chu, Flatley, Gorjanc, Murdoch, Ocko, S. Peterson,

11 Serber and Sharma are hereinafter collectively referred to as the “Individual Defendants.”

12             62.        Defendants SVF Excalibur (Cayman) Limited and SVF Endurance (Cayman)

13 Limited, both incorporated in the Cayman Islands, and Defendant SoftBank Vision Fund (AIV

14 M1) L.P., a Delaware limited partnership (collectively, the “SoftBank Defendants”), are venture

15 capital funds managed by SB Investment Advisers (UK) Limited, a subsidiary of SoftBank Group

16 Corp. On April 23, 2021, the Company filed its April 21, 2021 prospectus on Form 424B4 with

17 the SEC and reported that the SoftBank Defendants beneficially owned 32.4% of the Company (or

18 beneficially owned over 26.6 million shares) before the IPO and would continue to own 27.1% of

19 the Company after the IPO was completed.
20             63.        Defendants Data Collective II, L.P. and DCVC Opportunity Fund, L.P.

21 (collectively, the “DCVC Defendants”), both Delaware limited partnerships with their principal

22 place of business in Palo Alto, California, are venture capital funds managed by Ocko and Zachary

23 Bogue. On April 23, 2021, the Company filed its April 21, 2021 prospectus on Form 424B4 with

24 the SEC and reported that the DCVC Defendants beneficially owned 9% of the Company (or

25 beneficially owned over 7.3 million shares) before the IPO and would continue to own 7.5% of

26 the Company after the IPO was completed.

27             64.        Defendants True Ventures IV, L.P., True Ventures Select I, L.P., True Ventures

28 Select II, L.P., True Ventures Select III, L.P. and True Ventures Select IV, L.P. (collectively, the
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 1 “True Ventures Defendants”), all Delaware limited partnerships with their principal place of

 2 business in Palo Alto, California, are venture capital funds managed by Philip D. Black and Jon

 3 Callaghan. On April 23, 2021, the Company filed its April 21, 2021 prospectus on Form 424B4

 4 with the SEC and reported that the True Ventures Defendants beneficially owned 8.5% of the

 5 Company (or beneficially owned over 6.9 million shares) before the IPO and would continue to

 6 own 7.1% of the Company after the IPO was completed.

 7             65.        By virtue of their ownership of the majority of Zymergen’s preferred stock, the

 8 SoftBank Defendants, DCVC Defendants and True Ventures Defendants (collectively, the

 9 “Controlling Stockholders”) had virtually complete control over the Company. On April 23, 2021,

10 the Company filed its April 21, 2021 prospectus on Form 424B4 with the SEC and reported that

11 there were less than 13 thousand shares of common stock issued prior to the IPO, compared to

12 more than 900 thousand shares of preferred stock. The Controlling Stockholder’s respective SEC

13 Forms 3, 4 and Schedule 13G filed with the SEC show that the majority of the preferred stock

14 were owned by the Controlling Stockholders. Pursuant to the Company’s governing documents,

15 such as its certificate of incorporation, bylaws and investor rights agreement, the series of preferred

16 stock held by the Controlling Stockholders gave them preferential rights and protective provisions

17 to, inter alia, amend any provision of the Company’s certificate of incorporation or bylaws; issue

18 or redeem any Company shares; change the authorized number of directors; select directors of the

19 Board and pay dividends. The preferred stock also had antidilutive protections and rights to force
20 the Company to carry out an IPO and effect the sale of their shares to the public.

21             66.        By virtue of their control over Zymergen’s Board of Directors, the Controlling

22 Stockholders exercised their control over the Company and its officers and managers. Of the nine

23 Directors of the Board, the Controlling Stockholders were entitled to select three at any election.

24 The SoftBank Defendants selected Murdoch, the DCVC Defendants selected Ocko and the True

25 Ventures Defendants selected Sharma. Pursuant to the governing documents, these Directors were

26 given special rights, including that without the approval of the Directors appointed by the

27 Controlling Stockholders, the Company could not, inter alia, hire, terminate, or change the

28 compensation of any executive officer. The Controlling Stockholders also exercised their control
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 1 over the Company’s Audit Committee through the selection of Ocko and Sharma. The Controlling

 2 Stockholders’ Directors also held the authority to manage the Company by their required approval

 3 of the Company’s three-year business plan. Four other Directors of the Board where chosen by

 4 plurality vote, which, through their majority ownership, cemented the Controlling Stockholders’

 5 control of Zymergen’s Board of Directors.

 6             67.        The Controlling Stockholders also had a voting agreement amongst, inter alios,

 7 themselves and the Company, whereby they agreed on how to vote their shares of the Company

 8 together on certain matters, including with respect to the election of Directors. Indeed, Ocko, Co-

 9 Managing Partner of the DCVC Defendants, publically referred to the True Venture Defendants’

10 managers as “essential allies every step of the way” and attributed the IPO to the SoftBank

11 Defendants’ “capital muscle & advice when it was essential.”

12             68.        At the time of the IPO, all Zymergen’s outstanding preferred stock was converted

13 into common stock. The Controlling Stockholders’ preferred stock was converted into over 40

14 million shares of common stock, more than double the number of shares issued in the IPO. The

15 amount of common stock they owned, as well as other favorable provisions in the Company’s

16 governance documents, allowed the Controlling Stockholders to maintain virtually complete

17 control over Zymergen until the Controlling Stockholders fully harvested their investments.

18             69.        By virtue of their ownership, control over Zymergen’s Board of Directors and

19 control over the Company’s officers, the Controlling Stockholders exercised virtually complete
20 control over the Company.

21             70.        The Individual Defendants and the Controlling Stockholders had a duty to promptly

22 disseminate accurate and truthful information in the Registration Statement and to correct any

23 previously issued statements that were materially misleading or untrue.                The Controlling

24 Stockholders had access to the adverse undisclosed information about the Company’s business,

25 products, pipeline and market opportunity and other adverse facts that rendered the positive

26 representations made or adopted by the Company materially false and misleading, as detailed

27 herein. The Individual Defendants and the Controlling Stockholders, were able to and did control

28 the content of the Registration Statement and other public statements pertaining to the Company.
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 1 Each of the Individual Defendants and Controlling Stockholders was provided with copies of the

 2 documents alleged herein to be misleading prior to or shortly after their issuance and/or had the

 3 ability and/or opportunity to prevent their issuance or cause them to be corrected. Accordingly,

 4 each of the Individual Defendants and Controlling Stockholders was responsible for the accuracy

 5 of the Registration Statement and is therefore liable as controlling persons for the representations

 6 contained therein.

 7             71.        Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as an underwriter

 8 for the Company’s IPO. In the IPO, J.P. Morgan agreed to purchase 5,750,345 shares of the

 9 Company’s common stock, including the over-allotment option.               J.P. Morgan received an

10 underwriting fee of $2.17 per share, or $12,478,249.

11             72.        Defendant Goldman Sachs & Co. LLC (“Goldman Sachs”) served as an

12 underwriter for the Company’s IPO.               In the IPO, Goldman Sachs agreed to purchase

13 5,750,345 shares of the Company’s common stock, including the over-allotment option. Goldman

14 Sachs received an underwriting fee of $2.17 per share, or $12,478,249.

15             73.        Defendant Cowen and Company, LLC (“Cowen”) served as an underwriter for the

16 Company’s IPO. In the IPO, Cowen agreed to purchase 2,411,435 shares of the Company’s

17 common stock, including the over-allotment option. Cowen received an underwriting fee of $2.17

18 per share, or $5,232,814.

19             74.        Defendant BofA Securities, Inc. (“BofA”) served as an underwriter for the
20 Company’s IPO. In the IPO, BofA agreed to purchase 2,040,445 shares of the Company’s

21 common stock, including the over-allotment option. BofA received an underwriting fee of $2.17

22 per share, or $4,427,766.

23             75.        Defendant UBS Securities LLC (“UBS”) served as an underwriter for the

24 Company’s IPO. In the IPO, UBS agreed to purchase 2,040,445 shares of the Company’s common

25 stock, including the over-allotment option. UBS received an underwriting fee of $2.17 per share,

26 or $4,427,766.

27             76.        Defendant Lazard Frères & Co. LLC (“Lazard”) served as an underwriter for the

28 Company’s IPO. In the IPO, Lazard agreed to purchase 556,485 shares of the Company’s common
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 1 stock, including the over-allotment option. Lazard received an underwriting fee of $2.17 per share,

 2 or $1,207,572.

 3             77.        Defendants J.P. Morgan, Goldman Sachs, Cowen, BofA, UBS and Lazard are

 4 hereinafter collectively referred to as the “Underwriter Defendants.” As detailed herein, the

 5 material adverse disclosures by Zymergen on August 3, 2021; September 23, 2021; October 21,

 6 2021; November 3, 2021; November 15, 2021; and January 10, 2022, along with the other facts

 7 alleged, show that the Underwriter Defendants failed in their “gatekeeping” role to ensure the

 8 correctness of the Registration Statement. They failed to conduct a reasonable due diligence

 9 investigation, including the verification of information provided by Zymergen, which resulted in

10 the Registration Statement being inaccurate and misleading, containing untrue statements of

11 material facts and omitting material facts.

12 IV.         SUBSTANTIVE ALLEGATIONS
13             A.         Description of Zymergen and Completion of the IPO
14             78.        Zymergen integrates computational and manufacturing technologies to design,

15 engineer and optimize microbes for industrial applications. The Company developed a platform

16 – the biofacturing platform – that treats the genome as a search space, using proprietary machine

17 learning algorithms and advanced automation to identify genetic changes that improve the

18 economics for its customers’ bio-based products for a range of industries, including chemicals,

19 materials, agriculture and pharmaceuticals. In addition, Zymergen’s platform is used to discover
20 novel molecules used to enable unique material properties. The Company was incorporated in

21 Delaware on April 24, 2013.

22             79.        Zymergen uses a process it calls “biofacturing” to create products that purportedly

23 combine the design and manufacturing efficiency of biological processes with technology’s ability

24 to rapidly iterate and control diverse functions. Its first product is called Hyaline, an optical film

25 designed for electronics companies to use for display touch sensors, which would purportedly

26 enable customers to make foldable touchscreens and high density flexible printed circuits. Hyaline

27 was launched in December 2020, but has not generated revenue because it is still in its qualification

28 process with customers.
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 1             80.        On January 25, 2021, Zymergen confidentially submitted a draft Registration

 2 Statement on Form S-1 to the SEC that did not specify the number of securities to be issued or

 3 proceeds to be raised.

 4             81.        On February 22, 2021, the SEC sent a letter to Hoffman that included comments on

 5 the January 25, 2021 confidentially submitted draft Registration Statement, and requests for

 6 information. The SEC asked Hoffman to identify the third party that prepared the market data

 7 referenced in the draft Registration Statement in support of representations that the market

 8 opportunity addressable by Zymergen’s biofacturing platform was enormous and diverse – at least

 9 $1.2 trillion in 20 separate industries, including $150 billion in the electronics, consumer care and

10 agricultural industries. The SEC also asked for information about Hyaline, including a description

11 of the process in place to convert from a non-bio-produced molecule sourced from a third party to

12 a bio-produced molecule in 2022. The SEC asked for support for the representations that

13 Zymergen planned to develop and commercialize product breakthroughs in about half the time and

14 at one-tenth the cost of traditional processes.

15             82.        On March 8, 2021, Freshfields Bruskhaus Deringer US LLP (“Freshfields”)

16 responded to the SEC’s February 22, 2021 letter on behalf of Zymergen, and Zymergen filed an

17 amendment to the Registration Statement on Form S-1 with the SEC. In the letter, Freshfields

18 stated that the amended Registration Statement included revisions to address some of the

19 comments in the February 22, 2021 letter and also provided information in response to the
20 February 22, 2021 letter. Freshfields informed the SEC that the data regarding the Company’s

21 market opportunity were management’s estimates based on a bottom-up, industry-by-industry,

22 application-by-application analysis of IHS Markit and similar data. Freshfields described how

23 Zymergen purportedly estimated the market opportunity and also wrote that the Company

24 consulted industry experts to corroborate market analyses, especially where less granular market

25 data were available.

26             83.        On March 22, 2021, the SEC sent Hoffman another letter providing comments and

27 requesting information about the draft Registration Statement submitted on March 9, 2021. The

28 SEC asked Hoffman to amend the disclosures about Hyaline to describe approximately how long
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 1 Zymergen anticipated the Hyaline qualification process to take and when the Company expected

 2 to begin generating revenue from Hyaline. The SEC also asked Zymergen to disclose when the

 3 Company estimated it would begin generating revenue from the other ten products included in the

 4 pipeline.

 5             84.        On March 23, 2021, Zymergen filed its Registration Statement on Form S-1 with

 6 the SEC, which forms part of the Registration Statement. In this Registration Statement, the

 7 Company proposed a maximum offering of $100 million.

 8             85.        On March 26, 2021, Freshfields sent a letter to the SEC responding to the SEC’s

 9 March 22, 2021 letter; and Zymergen filed Amendment No. 1 to the Registration Statement, which

10 forms part of the Registration Statement. The amended Registration Statement included revisions

11 made in response to the letter received from the SEC on March 22, 2021.

12             86.        On April 14, 2021, Zymergen filed Amendment No. 2 to the Registration

13 Statement, which forms part of the Registration Statement, and increased the proposed maximum

14 offering to $484.8 million, proposing to register 15.64 million shares to be sold for $31.00 per

15 share.

16             87.        On April 21, 2021, the Company filed its final amendment to the Registration

17 Statement with the SEC on Form S-1MEF, which forms part of the Registration Statement. The

18 sole purpose of the amendment was to increase the number of shares to be registered by 2,909,500.

19 The Registration Statement was declared effective the same day.
20             88.        On April 22, 2021, the Company’s stock began publicly trading on the NASDAQ

21 under the stock symbol “ZY.”

22             89.        On April 23, 2021, the Company filed its April 21, 2021 prospectus on

23 Form 424B4 with the SEC, which forms part of the Registration Statement. In the IPO, the

24 Company sold approximately 18,549,500 shares of common stock at a price of $31.00 per share.

25 The Company received proceeds of approximately $529.9 million from the Offering, net of

26 underwriting discounts and commissions of $40.3 million, and approximately $4.9 million of

27 offering costs. The proceeds from the IPO were purportedly to be used for working capital and

28 other general corporate purposes, including the continued investment in commercializing its
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 1 existing products, launching products in its pipeline and furthering the development of its

 2 biofacturing platform and technology.

 3             B.         The Materially Misleading Representations Contained in the
                          Registration Statement
 4
               90.        The Registration Statement was negligently prepared and, as a result, contained
 5
      untrue statements of material facts or omitted to state other facts necessary to make the statements
 6
      made not misleading and was not prepared in accordance with the rules and regulations governing
 7
      its preparation.
 8
               91.        Under applicable SEC rules and regulations, the Registration Statement was
 9
      required to disclose known trends, events or uncertainties that were having, or were reasonably
10
      likely to have, an impact on the Company’s continuing operations.
11
               92.        As detailed herein, the untrue statements of material facts and omissions concerned
12
      the Company’s biofacturing platform; the Company’s ability to create better products faster,
13
      cheaper and more sustainably using the biofacturing platform; the product development process;
14
      the development status of 11 products in the Company’s product pipeline; the market opportunity
15
      for those products; and when those products would generate revenue.                    The following
16
      misrepresentations were included throughout the Registration Statement, including in the
17
      Prospectus Summary, Management’s Discussion and Analysis of Financial Condition and Results
18
      of Operations and the Business sections.
19
               93.        All of the representations in the Registration Statement detailed below were
20
      materially misleading because, as the Company disclosed on August 3, 2021 and November 3,
21
      2021, Zymergen was unable to produce products that could be sold at a profit when it created,
22
      manufactured and distributed the products on its own. In addition, the representations were
23
      materially misleading because Defendants failed to disclose that several key target customers had
24
      technical issues implementing Hyaline into their manufacturing processes or that there was only a
25
      “hypothetical” near-term market for Hyaline due to there being “no hit product yet in the foldable
26
      display market.” Indeed, the Company abandoned Hyaline and another optical film product
27
      because there was a smaller near-term market opportunity than represented in the Registration
28
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 1 Statement and abandoned all of the consumer care products because those products could not be

 2 sold at a profit when Zymergen created, manufactured and distributed them on its own. As a result,

 3 Zymergen did not generate product revenue in 2021 and 2022, as it represented in the Registration

 4 Statement.

 5             94.        In the Registration Statement, Defendants represented that Zymergen partnered

 6 with Nature to design, develop and commercialize bio-based breakthrough products that delivered

 7 extraordinary value to customers in a broad range of industries, including films designed for

 8 electronics companies to use in new categories of smart devices. Defendants represented that

 9 Zymergen created these products with a proprietary platform that unlocked the design and

10 manufacturing efficiency of biological processes with technology’s ability to rapidly iterate and

11 control diverse functions. Defendants called this process “biofacturing” and represented that it

12 would create better products faster, cheaper and more sustainably than traditional chemistry.

13 Indeed, Defendants represented that Zymergen’s goal was to launch products in about half the time

14 and at one-tenth of the cost of what traditional chemical and materials companies could deliver.

15                     We partner with Nature to design, develop, and commercialize bio-based
               breakthrough products that deliver extraordinary value to customers in a broad
16             range of industries. Our first innovations include films designed for electronics
               companies to use in new categories of smart devices, including rollable tablets and
17             naturally derived UV protection. Our goal is to create new products with a
               proprietary platform that unlocks the design and manufacturing efficiency of
18             biological processes with technology’s ability to rapidly iterate and control diverse
               functions. We call our process biofacturing and we expect it will create better
19             products faster, cheaper and more sustainably than traditional chemistry by
               engineering microbes to make novel biomolecules that are the key ingredients in
20             those products. Our goal is to launch our products in about half the time and
               1/10th of the cost of what traditional chemicals and materials companies can
21             deliver, which would allow us to address a wide array of commercial applications.
               Based on our experience and expectations with our first four products which are
22             electronic films and insect repellent products, and subject to any regulatory
               requirements, which could lead to longer timelines and increased cost, we
23             estimate the timelines and costs of launching our products to be roughly five
               years and $50 million. We founded Zymergen in the belief that biofacturing will
24             lead to better products with better economics and a better world.

25             95.        Defendants represented that the demand for innovative materials had never been

26 greater and that synthetic biology companies like Zymergen were a better alternative to chemical

27 and materials companies that struggled to innovate because those companies used a limited

28
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 1 molecular palette, had substantial capital expenditures and were among the planet’s worst

 2 industrial polluters.

 3             The demand for innovative materials has never been greater.
 4                     Human civilization is material. The materials in the things we use, the
               clothes we wear, the rooms where we live, the vehicles that take us from place to
 5             place, as well as the inputs that grow the food we eat, are the products of a half
               dozen chemical building blocks invented over the last several decades, mostly
 6             derived from cracking hydrocarbons.

 7                     We believe the chemicals and materials companies that make these
               materials have struggled to innovate because they employ a limited molecular
 8             palette and have substantial capital expenditures. In addition, they are among the
               planet’s worst industrial polluters. Recently, synthetic biology companies
 9             suggested a better alternative, where microorganisms are coaxed to produce
               chemicals, but most synthetic biology companies have struggled to manufacture
10             novel molecules at industrial scales. Yet while the traditional chemical industry
               is stagnant and synthetic biology companies have disappointed, the demand for
11             materials that solve important problems and are environmentally sustainable has
               never been greater.
12
               96.        Defendants represented that Zymergen’s biofacturing process, by contrast, created
13
      better products faster, cheaper and more sustainably.
14
               Biofacturing creates better products faster, cheaper and more sustainably.
15
                       Biofacturing is the design, development and commercialization of bio-
16             based breakthrough products, economically, at industrial scale, where
               microorganisms create the biomolecules that are the key ingredients in those
17             products. A traditional chemical factory’s tons of steel and concrete are
               functionally replaced by a tiny, flexible, easily reproduced, but incredibly valuable
18             engineered cell. Our goal is to make our biomolecules by fermentation, where all
               biofacturing reactions occur inside the engineered cell in standard fermentation
19             vats, rather than the expensive, purpose-built chemical plants used in synthetic
               chemistry. However, in some cases, so that we may achieve commercial launch
20             faster, we may initially launch products using molecules that are first produced with
               non-fermentation based methods, which is a strategy we refer to as “Launch
21             Acceleration.” Additionally, since cells naturally make tens of thousands of
               different molecules, their genetic pathways can be reprogrammed to carry out any
22             number of biofacturing reactions, and they can produce a vast array of biomolecules
               with unique properties that petrochemicals do not possess. Our pioneering
23             biofacturing process is designed to flexibly and cost effectively create products
               with unique characteristics that possess the diversity and power of Nature’s own
24             inventions, such as adhesives stronger than leading products on the market, or
               an optical film as clear and thin as a dragonfly’s wing.
25
               97.        In the Registration Statement, Defendants described the product development
26
      process, representing that Zymergen business development personnel: (i) worked with customers
27
      to define a set of properties for a material that the customers would find valuable; then (ii) designed
28
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 1 and developed engineered microbes that manufacture the novel biomolecule that would be a key

 2 ingredient in a breakthrough product; then (iii) had CMOs manufacture the product; and finally

 3 (iv) used Zymergen’s sales force and marketing capabilities to contract with customers and sell

 4 the product to them.

 5                    Our product development journey starts with our business development
               personnel working with a customer to define a set of properties for a material that
 6             our customer would find highly valuable. We then design and develop engineered
               microbes that manufacture the novel biomolecule that will be the key ingredient in
 7             a breakthrough product. Next, we leverage Contract Manufacturing Organizations
               (“CMOs”) to manufacture the product for us. Finally, once we have launched our
 8             product, we use our own sales force and marketing capabilities to contract with
               customers and sell our products to them.
 9
               98.        Defendants included a chart titled “First product launched, with a rich pipeline of
10
      future launches,” depicting the stage of development for the 11 products under development,
11
      including four products in the electronics market, four products in the consumer care market and
12
      three products in the agricultural market.
13

14

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24             99.        In describing the product development process, Defendants highlighted Hyaline,

25 the first and only product launched by Zymergen, and represented that it was launched in

26 December 2020, to customers in the electronic industry, which began the expected 6- to 18-month

27 product qualification process with multiple customers. Defendants emphasized the importance of

28 the qualification process in Zymergen’s target markets and represented that Hyaline (and other
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 1 products) would generate revenues only after customers completed all aspects of the qualification

 2 process and decided to place an order for the product.

 3             [T]hrough our global direct sales force and a team of application sales engineers,
               we launched our first product Hyaline in December 2020 to customers in the
 4             electronics industry, beginning the expected 6-18 month product qualification
               process with customers. We have not yet generated revenue from product sales
 5             (except for nominal revenue related to the sale of samples of Hyaline). We are
               currently in the qualification process on Hyaline with multiple customers,
 6             including sampling and discussions on commercial terms with some of them.
               Given the importance of this qualification process in our current target markets,
 7             we anticipate that, even after we have launched a product, we will only generate
               revenue after customers have completed all aspects of the qualification process
 8             for that product and decided to place an order for our product.
 9             100.       Defendants represented that Hyaline was an optical film designed for electronics

10 companies to use for display touch sensors in personal devices and other applications and would

11 allow customers to make robust foldable touchscreens and high density flexible printed circuits.

12 Defendants also represented that Zymergen was converting to a fermentation-produced molecule

13 for Hyaline and developing commercial scale processes so the Company could produce the

14 molecule through fermentation at sufficient volumes and costs to support commercial

15 manufacturing. Defendants represented that Zymergen expected this process to be complete in

16 2022.

17             Hyaline is the first in a franchise of optical films, designed for electronics
               companies to use for display touch sensors in personal devices and other
18             applications. Hyaline will allow our customers to make robust foldable
               touchscreens and high density flexible printed circuits. Hyaline uses a
19             biomolecule that was identified through our biofacturing platform. In order to
               accelerate product launch and meet customer demand, we launched Hyaline with
20             a non-fermentation produced biomolecule sourced from a third party. We are in
               the process of converting to a fermentation-produced molecule for Hyaline by using
21             a microbe that has a demonstrated ability to produce the molecule through
               fermentation. We are currently developing commercial scale processes so we can
22             produce the molecule through fermentation at sufficient volumes and costs to
               support commercial manufacturing. We expect this process to be complete in
23             2022.
24             101.       In addition to Hyaline, Defendants represented that Zymergen had ten other

25 products in development, including additional optical film products planned to be launched in 2022

26 and 2023; four consumer care products, including insect repellent; and three agricultural products.

27                    We have 10 other products in development, consisting of three in
               electronics, four with consumer care applications and three in agriculture.
28             ZYM0107, which we plan to launch in 2022, is the next product in our films
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 1             franchise and is a high-performance optical film like Hyaline. ZYM0101,
               planned for launch in 2023, is a breakthrough film for flexible electronics, which
 2             is designed to be used to build foldable and rollable phones and personal devices,
               as insulation for antennas to deliver 5G data speeds and as a coating for
 3             transparent monitors. Our consumer products include ZYM0201, a naturally
               derived non-DEET insect repellent, and we plan on partnering to create a
 4             microbial alternative to synthetic nitrogen fertilizer. We expect our biofacturing
               platform to be an engine of innovation and revenue generation, as we seek to
 5             develop new products in the same or adjacent sectors. We are also pursuing new
               markets for future growth.
 6
               102.       Defendants represented that Hyaline was expected to generate revenue in the
 7
      second half of 2021, just a few months after the completion of the IPO, and that Zymergen’s global
 8
      direct sales force and a team of application sales engineers were working with customers on the
 9
      sales qualification process for Hyaline, wherein customers would be able to validate the product
10
      and qualify it as a standard component in their final electronic devices.            Defendants also
11
      represented that other optical film products would generate revenue following the 6- to 18-month
12
      qualification process and that consumer care and agricultural products would generate revenue
13
      upon launch because a product qualification process was not necessary.
14
                       Following the launch of Hyaline, our global direct sales force and a team
15             of application sales engineers are now working with customers on the sale
               qualification process in which customers are able to validate the product and
16             qualify it as a standard component in their final electronic devices. During this
               time, we are providing customers with samples of our products to be tested for
17             use in their own products so they can determine whether to purchase our product.
               Based on our experience to date since the launch of Hyaline in December 2020,
18             we expect the sale qualification process of our products (including Hyaline) to
               last 6-18 months, or longer, depending on the customer and end device
19             requirements. We only generate revenue after customers have completed all
               aspects of the qualification process for that product and decided to place an order
20             for our product, which is typically done on a purchase order basis rather than a long-
               term contractual commitment. In the case of Hyaline, we expect to begin
21             generating revenue in the second half of 2021, which will be prior to the time we
               expect to convert the nonfermentation produced biomolecule to the fermentation-
22             produced molecule, which we expect to occur in 2022. We do not expect our
               estimated revenue from Hyaline to be meaningfully impacted by the conversion
23             to the fermentation-produced molecule. We expect other electronics products,
               including ZYM0101, which we expect to launch in 2023, to follow a similar 6-18
24             month qualification process following which we expect to generate revenue. For
               many of our consumer care and agriculture products, including ZYM0201 which
25             we expect to launch in 2023, a product qualification process will not be similarly
               necessary because we intend to launch and sell those products directly to the end-
26             user and expect to generate revenue upon launch. For our other products in
               development for which we do not currently have an anticipated launch date, we
27             cannot predict when we expect to begin generating revenue from such products.

28
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 1             103.       Defendants represented that Zymergen would grow its business in several ways and

 2 that it generally targeted products that could support annual sales of greater than $150 million.

 3                    We plan to grow our business in several ways. First, we plan to grow as
               we increase the market penetration of our launched products. Next, we plan to
 4             grow by launching additional products in our chosen verticals of electronics,
               consumer care and agriculture and by continuing to add new products to our
 5             pipeline in these verticals. Finally, we plan to grow by entering new markets. We
               plan to partner with industry leaders to enter these markets, as we believe this
 6             approach de-risks and accelerates our time to product launch. Today, we are
               working with various industry leaders and our strategy is to enter into partnerships
 7             with these leaders in the future.

 8                     We generally target products with a market opportunity that if successful,
               at scale, could support annual sales of greater than $150 million. We also expect
 9             that some portion of those products could be breakthrough products, but it is very
               hard in the materials market to predict beforehand which products those would be.
10             In the long term, our goal is to launch multiple breakthrough products every year.
               We believe that our strategy will drive strong future revenue growth as our
11             revenues from launched products increase and revenues from new product
               launches stack on top of each other.
12
               104.       In addition, Defendants assured investors that the market opportunity addressable
13
      by Zymergen’s biofacturing platform was enormous and diverse – at least $1.2 trillion across 20
14
      separate industries. They represented the market opportunity for the three industries being pursued
15
      with its 11 pipeline products – electronics, consumer care and agriculture – was approximately
16
      $150 billion, including the display market for Hyaline being over $1 billion in 2020, and the
17
      market for insect repellent being over $1.5 billion.
18
                       The market opportunity addressable by our biofacturing platform is
19             enormous and diverse. Our bottom-up, industry-by-industry, application-by-
               application, analysis suggests that our total market opportunity is at least
20             $1.2 trillion across 20 separate industries for our potential products, all ripe for
               disruption, and that the market opportunity of the first three industries we will
21             pursue, electronics, consumer care and agriculture, is approximately
               $150 billion. In particular, we estimate that the display market alone for Hyaline
22             was over $1 billion in 2020 and according to Transparency Market Research, the
               global market for insect repellents is over $1.5 billion across sprays and other
23             traditional formats. In addition, our consumer survey, which asked 2,750 adults
               between 18 and 65 years of age in the United States and an additional 6,000
24             consumers in five global markets as a follow up about their concerns about insects,
               their current behavior with insect protection and their interest in better insect
25             repellent products, found that consumer need to repel insects is global, big and
               likely to get bigger with current solutions being unsatisfactory, suggesting that
26             there is a large latent demand for better products and therefore we believe that
               the true market opportunity is much larger. We anticipate deploying our
27             innovation engine to create decades of disruptive breakthrough products using a
               rigorous discipline to select new opportunities where there’s demand for new
28
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 1             materials, where bio-based products have an advantage and where industries
               rapidly adopt new products.
 2
               105.       The representations about Zymergen’s biofacturing platform, the products created,
 3
      their development status, market opportunity and when those products would generate revenue
 4
      were particularly important to investors given the Company’s precarious financial condition.
 5
      Zymergen reported just $15.4 million of revenue in 2019, and a net loss of $236.8 million. In
 6
      2020, Zymergen reported just $13.3 million of revenue and a net loss of $262.2 million. The
 7
      increasing net losses caused the Company to be insolvent as of December 31, 2020, with an
 8
      accumulated deficit of $773.7 million. The recurring losses and accumulated deficit meant
 9
      Zymergen needed to raise equity or debt to fund its operations until the Company could generate
10
      sufficient revenues to fund its operations. That, in turn, caused the Company’s auditors to note
11
      there was substantial doubt about the Company’s ability to continue operating as a going concern.
12
                       The Company has incurred net losses since inception and anticipates net
13             losses and negative operating cash flows for the near future. For the year ended
               December 31, 2020, the Company had a net loss of $262.2 million, and as of
14             December 31, 2020, the Company had an accumulated deficit of $773.7 million.
               At December 31, 2020, the Company had $210.2 million of unrestricted cash and
15             cash equivalents. While the Company has signed a number of initial customer
               contracts, revenues have been insufficient to fund operations. Accordingly, the
16             Company has funded the portion of operating costs exceeding revenues through a
               combination of proceeds raised from equity and debt issuances. The Company’s
17             operating costs include the cost of developing and commercializing products as
               well as providing research services. As a consequence, the Company will need to
18             raise additional equity and debt financing that may not be available, if at all, at
               terms acceptable to the Company to fund future operations.
19
                       Based on the Company’s current business plan that was approved by the
20             Board of Directors, its existing cash and cash equivalents, are not expected to be
               sufficient to meet anticipated cash requirements for the next 12 months. Instead
21             the Company is evaluating plans to restrict spending in order to meet current
               contract and operating commitments.
22
                       In the event that unforeseen circumstances arise that result in additional cash
23             outflows, the Company has at its disposal a number of cost-cutting measures that it
               could initiate under these circumstances.
24
                       The accompanying consolidated financial statements have been prepared
25             assuming that the Company will continue as a going concern, which contemplates
               the realization of assets and the settlement of liabilities and commitments in the
26             normal course of business. Due to the substantial doubt about the Company’s
               ability to continue operating as a going concern and the material adverse change
27             clause in the loan agreement with its lender, the amounts due as of December 31,
               2019 and December 31, 2020, have been classified as current in the consolidated
28             financial statements. The lender has not invoked the material adverse change clause
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 1             as of the date of issuance of these financial statements. The accompanying
               consolidated financial statements do not reflect any other adjustments relating to
 2             the recoverability and reclassification of assets and liabilities that might be
               necessary if the Company is unable to continue as a going concern. The Company
 3             is subject to various covenants related to the credit and guaranty agreement entered
               into on December 19, 2019 (Note 9) and given the substantial doubt about the
 4             Company’s ability to continue as a going concern there is a risk that it may not meet
               its covenants in the future.
 5
               C.         The Materially Misleading Risk Factors in the Registration Statement
 6
               106.       The Registration Statement also contained inaccurate and materially misleading
 7
      “Risk Factors” warning investors that Zymergen’s business “could be,” “might be” or “would be”
 8
      harmed by various risks “if” they occurred. These Risk Factors were inaccurate and materially
 9
      misleading because the warned-of risks had already occurred and were adversely impacting
10
      Zymergen’s business at the time of the IPO.
11
               107.       Each of the risk warnings was materially misleading because, at the time of the
12
      IPO, there was only a “hypothetical” near-term market for Hyaline (the Company’s first and only
13
      product to be launched at the time of the IPO) due to there being “no hit product yet in the foldable
14
      display market” and because several key target customers had technical issues implementing
15
      Hyaline into their manufacturing processes. In addition, the risk warnings were misleading
16
      because the Company was unable to produce products that could be sold at a profit when it created
17
      and distributed the product on its own. Thus, the warned-of risks were already adversely and
18
      materially affecting Zymergen’s current business operations. Indeed, the Company abandoned
19
      Hyaline and another optical film product because there was a smaller near-term market opportunity
20
      than represented in the Registration Statement, and abandoned all of the consumer care products
21
      because those products could not be sold at a profit when Zymergen created, manufactured and
22
      distributed them on its own.
23
               108.       Defendants represented that Zymergen’s business, results of operations and
24
      financial condition “may be” adversely and materially affected “if” the Company was unable to
25
      use its biofacturing platform to successfully identify and develop pipeline products into
26
      commercially viable products faster and cheaper than traditional materials.
27
                      We may not be successful in our efforts to use our proprietary
28             biofacturing platform to build a pipeline of products.
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 1                     A key element of our strategy is to use our experienced management,
               engineering and scientific teams to build a pipeline of products through our
 2             biofacturing platform and develop those pipeline products into commercially
               viable products faster and cheaper than traditional materials. Although our
 3             R&D efforts to date have resulted in potential pipeline products, we may not be
               able to continue to identify and develop additional pipeline products through the
 4             use of our biofacturing platform.
 5                     Even if we are successful in continuing to build our product pipeline
               through the use of our biofacturing platform, not all potential pipeline products
 6             we identify will be suitable for development and use in commercial products.
               Machine learning and automation, generally, remain in the early stages of
 7             development. Although we expect machine learning and automation to improve
               over time, the operation of our biofacturing platform will continue to require
 8             significant human interaction which introduces risks of error and requires us to
               recruit highly skilled employees in a competitive market. Identifying and
 9             developing commercially viable pipeline products may require us to make
               continued advancements in our biofacturing platform to lower costs, reduce
10             development time or otherwise more quickly identify pipeline products[.] See the
               risk factor titled “–Even if we are successful in expanding our biofacturing
11             platform, rapidly changing technology and extensive competition in the synthetic
               biotech and petrochemical industries could make the products we are developing
12             and producing obsolete or non-competitive unless we continue to develop and
               manufacture new and improved products and pursue new market opportunities.”.
13             If we are unable to use our biofacturing platform to successfully identify and
               develop pipeline products, our business, results of operations and financial
14             condition may be adversely and materially affected.
15             109.       Similarly, Defendants represented that “if” Zymergen experienced problems or

16 delays in developing pipeline products, the Company “may” be subject to unanticipated costs,

17 including the loss of customers; Zymergen “may” not be able to solve development problems or

18 develop a commercially viable product at all; and “if” the Company did not successfully manage

19 new product development processes, revenue growth from new pipeline products “may” be
20 prevented or delayed and business and operating results “may” be harmed.

21                     It is difficult to predict the time and cost of development of our pipeline
               products, which are produced by or based on a relatively novel and complex
22             technology and are subject to many risks, any of which could prevent or delay
               revenue growth and adversely impact our market acceptance, business and
23             results of operations.
24                     We have concentrated our R&D efforts to date on a select number of
               pipeline products based on technical feasibility and market opportunity. We
25             launched our first product Hyaline in December 2020, beginning the expected 6-
               18 month product qualification process with customers. We have not yet
26             generated revenue from product sales (except for nominal revenue related to the
               sale of samples of Hyaline). We have 10 other products in development,
27             consisting of three in electronics, four with consumer applications and three in
               agriculture.
28
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 1                                                 *      *       *

 2             If we experience problems or delays in developing our pipeline products, we may
               be subject to unanticipated costs, including the loss of customers. Additionally,
 3             even after the incurrence of significant costs to develop a product, we may not be
               able to solve development problems or develop a commercially viable product at
 4             all. If we do not achieve the required technical specifications or successfully
               manage our new product development processes, or if development work is not
 5             performed according to schedule, then our revenue growth from new pipeline
               products may be prevented or delayed, and our business and operating results
 6             may be harmed.
 7             110.       Defendants also represented that the success of Zymergen’s business relied heavily

 8 on the performance of its products and the development of new products at lower costs and faster

 9 development timelines and that Zymergen’s business and results of operations “will be” adversely

10 affected “if” the Company was unable to successfully transition into becoming a biofacturer of

11 new products and create novel products at lower costs and on accelerated development timelines.

12                    The success of our business relies heavily on the performance of our
               products and developing new products at lower costs and faster development
13             timelines.
14                     To date our revenue has primarily been derived from relationships with
               partners where we seek to test and validate the ability of our biofacturing platform
15             to improve or optimize our clients’ products through biofacturing. However, our
               future profitability will depend on our ability to successfully execute and
16             maintain a sustainable business model and generate continuous streams of
               revenue through the sale of our products across industries. We launched our
17             first product Hyaline in December 2020, beginning the expected 6-18 month
               product qualification process with customers. We have not yet generated revenue
18             from product sales (except for nominal revenue related to the sale of samples of
               Hyaline). We are currently in the qualification process on Hyaline with multiple
19             customers, including sampling and discussions on commercial terms with some
               of them. Given the importance of this qualification process in our current target
20             markets, we anticipate that, even after we have launched a product, we will only
               generate revenue after customers have completed all aspects of the qualification
21             process for that product and decided to place an order for our product. Our
               current business model is premised on innovating and producing new products
22             rapidly and at lower costs than traditional methods and achieving results that may
               only be obtained through leveraging biology. While we may launch bio-based
23             versions of existing products or existing molecules that are too expensive to utilize
               in products today, biofacturing of previously unavailable, superior molecules and
24             materials is key to our long-term success. However, if we are unable to
               successfully transition into becoming a biofacturer of new products and create
25             novel products at lower costs and on accelerated development timelines, our
               business and results of operations will be adversely affected.
26

27

28
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 1             111.       Defendants represented that Zymergen’s business, financial condition and results

 2 of operations “may be” adversely affected “if” the Company’s products contained defects or were

 3 delayed.

 4                    Our products, or the end products of which they are components, could
               have defects or errors, which may give rise to claims against us or delays in
 5             production and adversely affect our business, financial condition and results of
               operations.
 6
                       Some applications of our technology or products are components of end
 7             products and therefore our success is tied to the success of such end products. We
               cannot assure you that material performance problems, defects, errors or delays
 8             will not arise in our products or the end products in which they are components,
               and as we commercialize our products, these risks may increase. We expect to
 9             provide warranties that our products will meet performance expectations and will
               be free from defects. The costs incurred in correcting any defects or errors may be
10             substantial and could adversely affect our operating margins.

11                      In manufacturing our products, we depend upon third parties for the supply
               of our instruments and various components, many of which require a significant
12             degree of technical expertise to produce. If our suppliers fail to produce our product
               components to specification or provide defective products to us and our quality
13             control tests and procedures fail to detect such errors or defects, or if we or our
               suppliers use defective materials or workmanship in the manufacturing process, the
14             reliability and performance of our products will be compromised.

15                     If our products or the end products of which they are components, contain
               defects or are delayed, we may experience:
16
                         a failure to achieve market acceptance for our products or expansion of our
17                        products sales;

18                       the development of new technology rendering our products, or the end
                          products of which they are components, obsolete;
19
                         loss of customer orders and delay in order fulfilment;
20
                         damage to our brand reputation;
21
                         increased warranty and customer service and support costs due to product
22                        repair or replacement;

23                       product recalls or replacements;

24                       inability to attract new customers and collaboration opportunities;

25                       diversion of resources from our manufacturing and R&D departments into
                          our service department; and
26
                         legal and regulatory claims against us, including product liability claims,
27                        which could be costly, time consuming to defend, result in substantial
                          damages and result in reputational damage.
28
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 1             D.         August 3, 2021: Zymergen Discloses Numerous Facts Demonstrating
                          the Registration Statement Was Inaccurate and Materially
 2                        Misleading, Causing the Company’s Stock Price to Decline 75%
 3             112.       After the market closed on August 3, 2021, less than four months after the

 4 completion of the IPO, the Company revealed numerous facts informing investors the Registration

 5 Statement contained untrue statements of material facts and omitted material facts. On that date,

 6 Zymergen issued a press release and held a conference call to provide a business update regarding

 7 its commercial product pipeline and financial forecast.

 8             113.       The Company reported: (i) there were issues with its commercial products pipeline

 9 that would impact the Company’s delivery timeline and revenue projections; (ii) the Company no

10 longer expected product revenue in 2021 and only expected immaterial product revenue in 2022;

11 (iii) during the quarter, several key target customers encountered technical issues in implementing

12 Hyaline into their manufacturing processes, resulting in a delay in the commercial ramp up of

13 Hyaline; (iv) the Company was working to strengthen its commercial team to ensure the reliability

14 and robustness of the sales pipeline qualification and forecast process; (v) the Company was

15 evaluating emerging data on the total addressable market for foldable display applications,

16 indicating a smaller near-term market opportunity that was growing less rapidly than anticipated,

17 as well as its impact on Zymergen’s sales forecast; (vi) the Company would conduct a full

18 reexamination of all Zymergen target markets to determine if a shift in market focus was

19 appropriate; (vii) the Zymergen’s Board of Directors had formed dedicated committees, including
20 a Strategic Oversight Committee, and was working with outside experts to conduct an in-depth

21 review of the Company’s operational, financial, product and commercialization efforts to facilitate

22 the development of an updated strategic plan; (viii) the Company would conduct a cultural

23 assessment to ensure that there would be broad-based accountability across the organization and

24 that the Company would operate with transparency and openness; (ix) the Company was focused

25 on reestablishing the credibility of the leadership team and the Company; (x) Hoffman, the

26 Company’s CEO, had been terminated, effective immediately, as part of the effort to reestablish

27 the credibility of the leadership team and the Company; and (xi) the Company was developing a

28 plan to reduce and align expenses with the change in the Company’s revenue expectations.
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 1             114.       In the press release, Zymergen reported the following:

 2                     Zymergen recently became aware of issues with its commercial product
               pipeline that will impact the Company’s delivery timeline and revenue
 3             projections. Accordingly, the Company no longer expects product revenue in
               2021, and expects product revenue to be immaterial in 2022.
 4
                       During the quarter, several key target customers encountered technical
 5             issues in implementing Hyaline into their manufacturing processes typical of new
               product and process development learnings. The Company has made significant
 6             progress towards addressing these challenges and believes there are no intrinsic
               technical issues with Hyaline. However, this issue has resulted in a delay in the
 7             Company’s commercial ramp. Zymergen is working to strengthen its commercial
               team to ensure the reliability and robustness of the sales pipeline qualification
 8             and forecast processes.
 9                    The Company is also evaluating emerging data on the total addressable
               market for foldable display applications, which indicate a smaller near-term
10             market opportunity that is growing less rapidly than anticipated, as well as its
               impact on Zymergen’s sales forecast. The Company will conduct a full re-
11             examination of Zymergen’s target markets confirming our past views or altering
               them if the data indicate a shift in market focus is appropriate.
12
                       “We are disappointed by these developments, and the Board and
13             management team are focused on resolving the underlying issues to ensure
               Zymergen moves forward as a stronger company with a compelling operating
14             plan,” said Jay Flatley, Acting CEO and Chairman of the Board. “The Board has
               formed dedicated committees, including a Strategic Oversight Committee, and is
15             working with outside experts to conduct an in-depth review of the Company’s
               operational, financial, product, and commercialization efforts to facilitate the
16             development of an updated strategic plan for Zymergen. The underlying promise
               of our business and technology is sound, and I am proud of the work our teams are
17             doing across the organization. We are confident in Zymergen’s opportunities and
               prospects, although it will take longer to accomplish our goals than previously
18             expected.”
19             CEO Transition
20                     In connection with the business update, Zymergen also announced that Jay
               Flatley has been appointed Acting Chief Executive Officer, effective immediately.
21             Flatley’s appointment follows the mutual decision by Zymergen and Josh Hoffman
               that Hoffman will step down as CEO and as a member of the Board, effective
22             immediately. The Company’s Board of Directors will commence a search process
               to identify a permanent CEO. Sandi Peterson will serve as Zymergen’s Lead
23             Independent Director while Flatley serves as Acting CEO.

24                                                 *      *       *

25                      “A key element to ensuring Zymergen is set-up for long-term success is
               having the right team in place, and the Board and Josh recognize that new
26             leadership is required,” said Flatley. “The Board will take whatever time is needed
               to conduct a thorough search to identify a world-class leader for Zymergen. Until
27             then, I am committed to working with our deep bench of talent to drive our company
               forward. On behalf of the Board and management team, I thank Josh for his work
28             in advancing our mission and wish him the best in his future endeavors.”
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 1                                                *      *      *

 2                    In connection with today’s business update, Zymergen is developing a
               plan to reduce and align expenses with the change in the Company’s revenue
 3             expectations.
 4             115.       During the conference call, Flatley repeated the unexpected adverse disclosures

 5 included in the press release related to Hyaline, the total addressable market for foldable display

 6 applications and the impact on expected product revenues for Hyaline and other products.

 7             At market close today, Zymergen released an important business update. In
               addition, the company announced my appointment as acting CEO, while the Board
 8             commences a search to identify a permanent successor.

 9                     Starting with the update. We recently became aware of issues with
               Zymergen’s commercial product pipeline that will impact the company’s delivery
10             time lines and revenue projections. The goal of our call today is to provide you
               with further details, including our current understanding of the issues and what
11             we continue to review; the actions the Board has already undertaken in
               connection with these events; and our plan to get the company back on track,
12             reestablish credibility and ensure Zymergen is positioned for success.
13                      Specifically, it’s become clear that the commercial opportunity for our
               first product Hyaline is less than we expected. In response, the Board initiated a
14             series of deep dives into the company’s product pipeline and development
               processes. While the work remains ongoing, the Board anticipates that the road
15             map and time lines for Zymergen’s follow-on products could also be impacted.
               As a result, we no longer expect product revenue in 2021 and expect product
16             revenue to be immaterial in 2022. Without a firm pipeline of customers and
               visibility on commitments, our projections beyond 2022 are highly uncertain.
17
                       Let me now turn to the details of what we know today. As is typical and
18             important for any company, the Board receives periodic updates regarding the
               company’s progress toward its goals. It was through these updates that we recently
19             learned of significant execution challenges within the organization. Based on
               the Board’s preliminary analysis, we have identified several contributing factors
20             to the revision of our plan.
21                    First, several key target customers had technical issues implementing
               Hyaline into their manufacturing processes. We’ve made progress toward
22             addressing these challenges and believe there are no intrinsic technical issues with
               Hyaline. However, this resulted in a delay in the commercial ramp.
23
                       Second, emerging data on the total addressable market for foldable
24             display applications indicates a smaller near-term market opportunity with scaled
               demand pushed out in time and growing more slowly than anticipated. The
25             market is in an earlier stage than we previously expected.
26                     Third, the company’s commercial teams did not have significant insight
               into the customer qualification process and into their customers and users, which
27             resulted in forecasted overestimated near-term demand. As a result, we’re
               already making substantive changes in our commercial team.
28
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 1             116.       After repeating the adverse information included in the earnings release, Flatley

 2 emphasized the seriousness of the problems and what the Zymergen’s Board of Directors and

 3 management were doing to understand the issues and develop a plan to address them.

 4                     I want to perhaps state the obvious that we’re taking this situation
               extremely seriously. As soon as we learned of the problems, our Board and
 5             management immediately started to work to fully understand the issues and
               began developing a plan to address them. The Board has formed dedicated
 6             committees, including a strategic oversight committee, to conduct an in-depth
               review of the company’s operational, financial, product and commercialization
 7             efforts. We have also engaged expert advisers to support us in this process.
 8                    Currently, our work is focused in several key areas. First, we’re
               conducting a deep dive into the company’s sales forecasting process to examine
 9             how the initial forecast was developed, where the issues arose and how to improve
               that process going forward. Second, we’ve retained a number of outside experts
10             to examine the robustness of the products coming out of our pipeline and their
               readiness for full commercialization. Third, we’re digging into the company’s
11             long-term market opportunities to ensure our product pipeline is aligned with
               industry trends and customer demand.
12
                      With the assistance of a top-tier consulting firm, we’re doing a full
13             assessment of Zymergen’s target markets and the fit of our products into the
               pipeline of those markets. As part of this work stream, we’re exploring adjacent
14             opportunities that could potentially provide for new revenue sources.

15                                                 *      *      *

16                     Lastly, we’re developing a plan to align our burn rate to match the newly
               expected revenue ramp. One of our top priorities will be expense management.
17             However, we should note that the Q3 expense rate is likely to be higher than Q2,
               given the outside resources we’ve retained and the onetime expenses it will take to
18             manage down the burn rate. In the meantime, we have ample cash on hand to
               manage the business.
19
               117.       Flatley also stated that Zymergen would conduct a cultural assessment to ensure
20
      there was broad-based accountability across the organization and that the Company operated with
21
      transparency and openness; that Zymergen was focused on reestablishing the credibility of the
22
      leadership team and the Company; and that the termination of Hoffman was required to ensure
23
      accountability, transparency, openness and credibility.
24
               We will conduct, additionally, a cultural assessment to ensure that there’s broad-
25             based accountability across the organization and that we operate with
               transparency and openness.
26
                                                   *      *      *
27
                     As a result of the work underway, we will develop an updated strategic plan
28             for Zymergen with clear milestones and goals that the company can be held
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 1             accountable to achieving. We are focused on reestablishing the credibility of the
               leadership team and the company. We recognize that this will not happen over
 2             weeks or months, but will require consistent quarter-after-quarter execution
               against a credible plan.
 3
                      To that end, another key element to ensuring we’re set up for long-term
 4             success is [to] have the best possible leadership. As a co-founder and CEO, Josh
               Hoffman’s vision and passion for partnering with nature to make better products
 5             has been instrumental to establishing Zymergen as an industry pioneer and
               innovator. We’re all grateful to him for his work in advancing this mission and
 6             thank him for his many contributions.

 7                     As we navigate the current situation and work to move the company
               forward as a refocused company, the Board and Josh mutually agreed that new
 8             leadership is required. The Board will initiate a comprehensive search to find the
               right leader to guide Zymergen’s strategy moving forward and deliver on its
 9             strategic and operational goals. We will take whatever time is necessary to find the
               world-class leader our company deserves. In the meantime, I’m committed to
10             leading the company and overseeing all operations as well as the reviews underway,
               and we’ll keep you updated as we have more information to announce.
11
               118.       Flatley concluded his opening remarks by stating that the Company was now
12
      “committed to acting with transparency” but could not provide a specific forecast for 2022 and
13
      2023, until it completed various tasks, including a full reexamination of the Company’s target
14
      markets, the strengthening of the commercial team and ensuring the reliability and robustness of
15
      Zymergen’s sales pipeline and forecast process.        He acknowledged the unexpected adverse
16
      disclosures were “deeply disappointing” to investors and meant it would take longer for Zymergen
17
      to achieve its goals than previously expected.
18
                     The Board’s hope was to speak to you today about the company’s 2022
19             and 2023 prospects. However, we have more work to do before we can provide a
               more specific forecast. We’re committed to acting with transparency and look
20             forward to providing updates on our progress.
21                     Over the next several quarters, we expect to complete and deliver a full
               reexamination of the company’s target markets, confirming our past views or
22             altering them if the data indicate a shift in market focus is appropriate. This will
               also include exploring potential new markets. Second, a plan to strengthen the
23             commercial team and ensure the reliability and robustness of both our sales
               pipeline, qualification and our forecast processes. A plan to reduce the company’s
24             burn rate to align more closely with our revenue prospects. Fourth, a deep dive into
               the process by which we prepare and launch products to be sure they’re market-
25             ready and can be easily integrated into our customers’ workflows. And lastly, a
               plan for 2022 and 2023, that we have confidence we will meet.
26
                      To close, I want to acknowledge that these developments are deeply
27             disappointing to all of us as supporters of Zymergen and its mission, including
               you, our analysts and investors, our employees, our customers and our Board of
28             Directors. This is a setback that we’re committed to resolving fully and
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 1             expeditiously. Our execution challenges do mean it will take longer to achieve
               our goals than previously expected. However, we remain focused on our strategy
 2             of pursuing continuous launches of breakthrough products and I’m proud of the
               work our teams are doing across the organization.
 3
               119.       Following   Flatley’s   prepared    remarks,   analysts   expressed   shock   and
 4
      disappointment with the numerous adverse disclosures made just months after the completion of
 5
      the IPO and asked many questions.
 6
               120.       Cowen analyst Doug Schenkel (“Schenkel”) asked the first question, stating the
 7
      disclosures were a disappointment for everybody and very surprising. He noted there was a lot of
 8
      excitement about the outlook for Hyaline because the Company had attached a large market
 9
      opportunity to it and because Hyaline working would be a sign that Zymergen’s biofacturing
10
      platform was worth much more. He asked Flatley if there truly was a real platform value given
11
      the unexpected adverse disclosures.
12
               Obviously, a disappointment for everybody involved in listening to this call, and
13             it’s very surprising.
14                    If we tick it up a level; from Hyaline, there was a lot of excitement about
               the outlook for that product. I would argue that investors were as focused on
15             Hyaline for the product itself as well as essentially looking at it as a sign that
               investors and analysts could have more confidence that this platform could work.
16
                     So while the product itself had attached to it a large market value, a
17             market opportunity, I think folks looked at Zymergen as not just Hyaline
               company. But if Hyaline worked and then the follow-on product worked, that it
18             would be a sign that this platform was worth much, much more.
19                    I know this has just happened, but I think it would be really helpful if you
               could share anything that would make all of us feel better, that there truly is real
20             platform value here. How do we get comfortable with that, Jay?
21             121.       Flatley claimed he had confidence the platform could produce products but

22 acknowledged the challenge was in the execution related to matching produced products with

23 market opportunity. Flatley also claimed Hyaline still had a material opportunity in the market –

24 a claim he would contradict in Zymergen’s 3Q21 earnings call just three months later, when he

25 unexpectedly revealed the Company had stopped all work on Hyaline and cancelled the product

26 because the foldable display market was smaller than initially expected – but admitted that

27 opportunity had been “pushed out” and that the “pipeline [was] thinner than we might have

28 expected back several months ago.” He also admitted what happened with Hyaline caused the
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 1 Company to “relook at the entire pipeline of products” to determine the Company’s ability to

 2 manufacture them in a way that they were truly market ready and that they had a match to the best

 3 market opportunities.

 4                     So everything I’ve seen to date, Doug, reinforces the confidence that we
               have in the overall ability of this platform to produce products. What I think we’ve
 5             seen, as we look back over the last weeks, is a real challenge in execution related
               to the match of the products that the platform can produce with the market
 6             opportunity.
 7                    And Hyaline, you’re right, was certainly an exemplar or intended to be an
               exemplar of what this platform could produce. We think the product still has a
 8             material opportunity in the market. It’s certainly pushed out, and the pipeline is
               thinner than we might have expected back several months ago. But intrinsically,
 9             we think the technical characteristics of the products are sound.

10                     Having said that, what’s happened on Hyaline has caused us to relook at
               the entire pipeline of products that we’re producing, not in terms of the actual
11             specification so much of those products, but our ability to manufacture them in
               a way that they’re truly market-ready, number one. But secondarily, that they
12             also have a match to the best market opportunities that the company has in front
               of it.
13
                      So in summary, I think the platform is solid. What we’re facing here are
14             execution challenges in matching the products that come off that platform to the
               market.
15
               122.       Schenkel mentioned the pipeline of product charts shared by Zymergen – including
16
      in the Registration Statement – and asked what had changed if the products were as represented in
17
      the pipeline charts.
18
                      Okay. And I guess 1 follow-up on what you’ve mentioned a couple of
19             times, which is this pipeline. I just want to make sure I understand that correctly.
               When you talk about pipeline, and maybe I should just understand this
20             inherently, but are you talking about the products and the targets that the
               company has been talking about for a while in terms of what would come next?
21             Are you talking about the funnel of customers that could be interested in Hyaline
               and other products? Or is it actually both?
22
               123.       Flatley responded that the pipeline of products was as represented during the IPO
23
      but that the pipeline of customers was thinner than represented during the IPO.
24
                      Your point’s a good one. It’s actually both, and pipeline is used to describe
25             both of those things. And what I would say is that the pipeline of products is as
               was represented during the IPO. So those products are continuing to be developed
26             by the platform. What is thinner than we expected is the pipeline of customers
               for Hyaline specifically.
27

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 1             124.       That response caused Schenkel to ask if what changed with the pipeline charts

 2 included in the Registration Statement was Zymergen’s ability to manufacture at a level that would

 3 put the Company in a position to address the markets in a way where the markets would be as

 4 previously communicated.

 5                    [Schenkel:] Okay. But – and then – but in general, so that – if we think of
               those product pipeline charts, you guys shared, nothing’s changed there. What’s
 6             changed is your assessment of your ability to manufacture at a level that would
               put you in a position to address the markets in a way where the TAMs would be
 7             what was previously communicated?
 8             125.       Flatley responded that the problem was not manufacturing, but the actual fit of the

 9 product to the market opportunity. Moreover, he admitted there was no market for Hyaline and

10 that the market was just “theoretical” because there was “no hit product yet in the foldable display

11 market.” Flatley said that problem caused Zymergen to relook at the entire portfolio of products

12 to make sure there were market opportunities for them.

13                    [Flatley:] It’s not so much the scalability of manufacturing, Doug. It’s
               the actual fit of the products that we’re making to the market opportunity, right?
14             Do they satisfy the market? Are they timed in a way to hit the market when the
               market is actually ready for them?
15
                       So we think, as I mentioned in the script, that the timing for the foldable
16             display market is getting pushed out. As most people are aware, there’s no hit
               product yet in the foldable display market. So they’re all remaining theoretical,
17             and that’s sort of pushing out the time line for Hyaline. So that’s an example, I
               think, of where we have a product in a market that’s not quite ready for it yet and
18             so the timing gets pushed out. That’s what’s caused us to go back and relook at
               the entire pipeline of products to make sure that, that fit is appropriate and that
19             we’re hitting the best market opportunities that the company has.
20             126.       In response to a question from J.P. Morgan Chase analyst Tycho Peterson

21 (“T. Peterson”) about the technical issues key target customers had implementing Hyaline into

22 their manufacturing processes, Flatley revealed there was product shrinkage at one customer site

23 and material compatibility issues at an undisclosed number of customers. He acknowledged the

24 Company did not do a sufficient job of anticipating and modeling the processes its products went

25 through at its customers or knowing in advance what risks its products could have in the hands of

26 third-party customers. As a result, Zymergen did not understand the various types of applications

27 for its products and what issues might come up at the customer sites and pretest for as many of

28 those as possible. Moreover, he acknowledged these failures should not have occurred, stating
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 1 they were “normal sort of cutting-your-teeth problems that happen in the implementation of these

 2 advanced types of technologies.”

 3                     There were 2 specific things, Tycho, that came up post IPO. One was the
               fact that we had some product shrinkage in one customer site. And as I said in
 4             the script, we believe we’ve largely addressed that. There’s probably a little bit
               more testing required to ensure that, that’s the case. But we think that’s largely
 5             behind us.

 6                    The second one has to do with material compatibility. As you know, these
               products go into a process that’s different at every customer site. And what we
 7             should have done as a company has done a better a job of anticipating and
               modeling what those processes were at each of those customers, knowing in
 8             advance what risks our product could have in the hands of the third-party
               customers.
 9
                      And that’s where we had some execution challenges and where we need
10             to go back into our pipeline of products and make sure that when we produce a
               product, we understand clearly the various types of applications for that product
11             and what issues might come up in those customer sites and pretest for as many
               of those as we possibly can. So those were the technical issues that we faced.
12
                      And as I mentioned, we don’t think there’s any intrinsic problems with the
13             product. These are normal sort of cutting-your-teeth problems that happen in the
               implementation of these advanced types of technologies.
14
               127.       Peterson also asked about the smaller near-term market opportunity for Hyaline,
15
      which was growing more slowly, and asked if Zymergen had bad market data or if the Company’s
16
      customers pushed out the timelines. Flatley said it was a combination. He said the Company had
17
      research reports that clearly indicated the foldable display market was at least a year away and that
18
      there was no killer product on the horizon, facts that would have existed at the time of the IPO.
19
      He also said the smaller near-term market opportunity for Hyaline was a result of customer
20
      feedback and acknowledged this information existed at the time of the IPO by stating that it was
21
      another point in Zymergen’s commercial chain where the Company did not do as good a job as it
22
      should have in understanding the ultimate end use of the product and what the demand curve
23
      looked like, which was why Zymergen overestimated the near-term demand for Hyaline.
24
                       That was a combination. We’ve had some research reports that have
25             clearly indicated a shift in market timing that’s at least a year and maybe more.
               And as I mentioned, we all watch the foldable phone market, and there’s no killer
26             product immediately on the horizon that, at least, we’re aware of. So that time
               line has largely gotten pushed out.
27
                     And we’ve had customer – direct customer contact, deep customer contact
28             through our commercial channels, where we’ve talked to customers about exactly
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 1             when they plan to implement it and what product they plan to implement it in.
               It’s another point in our commercial chain where we didn’t do as good a job as
 2             we should have in understanding, in fact, the ultimate end-use of the product in
               the stack and understanding what that demand curve look like. And that’s why
 3             I think we potentially – well, we, in fact, did overestimate the near-term demand
               for Hyaline.
 4
               128.       Flatley also admitted Zymergen was looking at the fundamental model of the
 5
      Company to determine whether its at-risk development model was sound compared to the foundry
 6
      approach used by some of the Company’s peers. Moreover, he admitted the deep dive into the
 7
      Company’s at-risk development model and other business assessments would occur over the next
 8
      several quarters.
 9
               129.       BofA analyst Derik De Bruin (“De Bruin”) questioned the representations made
10
      during the IPO process given the unexpected adverse disclosures and asked how the analysts could
11
      have any confidence in anything the Company was now representing, noting the representations
12
      about Hyaline being the Company’s breakthrough product were off so much. De Bruin told Flatley
13
      that, during the IPO process, health care analysts like him relied on the Company for information
14
      to evaluate the electronics markets, consumer products markets and agriculture product markets
15
      because they were a bit beyond the scope of health care analysts. He asked:
16
               [H]ow can we have any confidence whatsoever in anything that’s been put out
17             there in terms of numbers or putting the market opportunity? I mean, given that
               the one product, the one market that was set in stone to come out and be the
18             breakthrough product is off so much? So . . . the question is like, what’s the basis
               for our forecast for now on this and sort of the opportunity? And it’s like – are
19             you going to reevaluate all the other pipeline products as well?
20             130.       Flatley admitted that the Company was reevaluating all the other pipeline products

21 and that it was “totally fair that you question the credibility of any forecast we give you today,

22 which is, frankly, why we didn’t give you any forecast today.” He claimed the Zymergen Board

23 was as surprised as De Bruin, the other analysts and the Company’s investors and that it was part

24 of the reason Zymergen was doing the very deep dive to understand what happened in the

25 forecasting process, the product process and the overall market assessment.

26             131.       In response to another question from De Bruin about the Company’s cash burn,

27 Flatley said Zymergen was in a “great cash position at the moment” with $580+ million of cash in

28 the bank and net cash of about $500 million. He admitted, however, a key priority was to reduce
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 1 the cash burn rate sufficiently so cash would last longer and to the point it would match the revenue

 2 stream going forward, which Flatley admitted the Company did not know.

 3             132.       Flatley failed to mention that the great cash position was the result of the Company

 4 raising $529.9 million less than four months earlier, based on a Registration Statement that

 5 contained untrue statements of material facts and omitted facts necessary to make the statements

 6 made not misleading.

 7             133.       Goldman Sachs analyst Matthew Sykes noted the technical issues customers

 8 encountered with Hyaline during the evaluation and testing phase were fairly far along in the

 9 process when discovered and asked if there were ways Zymergen could check in to avoid these

10 types of surprises in the future. Like in his response to J.P. Morgan analyst Peterson, Flatley

11 acknowledged the technical issues were knowable at the time of the IPO if Zymergen had done a

12 better job of understanding and anticipating the end use of the product in the customer’s hands and

13 having a more intimate relationship with the customer so the Company understood specifically

14 how the customer was going to use the product and what other materials they were using in their

15 factories so that Zymergen’s material would be compatible at the time it was provided to the

16 customer. Flatley also said Zymergen needed to have more talent at the application engineer level

17 who worked directly with the customer and make sure those engineers were on site working

18 directly with the customers. Flatley admitted that had not happened and blamed COVID for

19 engineers not being on site.
20                      There’s 2 key things, Matt, that I think we need to do there. One is that
               we need to do a much better job of understanding and anticipating the end-use
21             of the product in the customer hands; and having a more intimate relationship
               with the customer so we understand specifically how they’re going to use it, what
22             other materials they’re using in their factories, so that our material winds up
               being fully compatible at the time we put it in their hands. There’s always some
23             of this that’s going to happen as you put a brand-new product into a new application.

24                     But the second thing we need to do to make that go much more smoothly
               is have more talent at the application engineer level that works directly with the
25             customer on site. And COVID, we’ve never used COVID as an excuse in any of
               this, but there have been some COVID challenges in getting our teams to fly to
26             customer sites and be able to meet with customers. And so as a backdrop, that’s
               been a challenge, frankly, for the customer – company in the last 1.5 years. And so
27             what we need to do as we come out of COVID it is to make sure we have those
               application engineers on-site working directly with customers in a much more
28             timely way.
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 1             134.       Sykes, like other analysts, also questioned the Company’s credibility and whether

 2 there were also issues with the overall platform.

 3                     And then just on the overall credibility. Obviously, there will be general
               questions going forward. And how much of this is – can we attribute to specifically
 4             to the technical issues that Hyaline had and/or electronic films versus other end
               markets and in the conversations that you’ll likely have with customers that you’ve
 5             been working with other end markets to assure them that this is a specific issue to
               a specific end market and a specific product versus the overall platform that you
 6             kind of addressed in an earlier question, but just wanted a little more detail on it.

 7             135.       Flatley responded that there was no concern about the real market opportunities for

 8 the Company but that the challenge was to make sure the specific products made would meet the

 9 market need of a particular application area, which was where the Company had fallen down. He

10 stated Zymergen needed to track the evolution of these markets much more closely so that if the

11 markets evolved while Zymergen was developing products, the Company would have the ability

12 to adapt and react to those.

13                     Yes. So Matt, we don’t have any concerns about the real market
               opportunities for this company. We believe the opportunity we have to make new
14             products that don’t exist today, to make them in much more organic ways, nature
               friendly ways is as enormous as we communicated and others in this field have
15             communicated. So there’s no doubt about that.

16                     The challenge we have is to make sure that the specific product that we
               make meets the market need of a particular application area. And that’s where,
17             I think, we’ve fallen down is in that execution side of things. And we need to
               track the evolution of these markets much more closely so that if these markets
18             evolve while we’re developing products, that we have the ability to adapt and react
               to those. But there’s no reduction of our optimism about the market opportunities
19             for Zymergen products in the long run.
20             136.       In response to a question from Larew, Flatley stated that Zymergen continued to

21 work with the two customers that had problems incorporating Hyaline and the concern was how

22 fast they were going to ramp up and how fast their end-user markets were going to ramp up based

23 on what was known about the foldable display market.

24             137.       In his closing remarks, Flatley acknowledged the setbacks revealed were “clearly

25 disappointing for all of you and for all of us” and stated Zymergen remained confident in the

26 significant opportunity the Company had in front of it. Subsequent disclosures by the Company

27 would confirm many of the opportunities presented in the Registration Statement were gone,

28 including the discontinuation of six of the 11 products highlighted in the Registration Statement.
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 1             138.       On this news, the Company’s stock price fell $26.58 per share, or 76%, from $34.83

 2 on August 3, 2021, to $8.25 on August 4, 2021, on unusually heavy trading volume of 21.7 million

 3 shares.

 4             139.       On August 4, 2021, the date this action commenced, the Company’s stock was

 5 trading as low as $7.85 per share, a nearly 75% decline from the $31.00 per share IPO price.

 6             E.         August 4, 2021: Analysts Report the Catastrophic Disclosures on
                          August 3, 2021, Destroyed Zymergen’s Credibility with Investors
 7
               140.       Following the Company’s August 3, 2021 press release and earnings call, many
 8
      analysts issued reports in which they downgraded the Company’s stock and were highly critical
 9
      of Zymergen, questioning the Company’s credibility, including how the foldable display market
10
      could have changed so much in the less than four months since the IPO.
11
               141.       On August 4, 2021, Larew issued a report in which he downgraded Zymergen
12
      stock, wrote that the Company had destroyed its credibility with investors and questioned how the
13
      total addressable market for foldable display applications could have changed so much since the
14
      IPO.
15
               [G]iven the abrupt and significant about-face just months after the IPO, we
16             believe the company has destroyed its credibility with investors (who have an ever-
               growing list of other investible options in the flourishing synthetic biology field).
17             While shares will be down meaningfully on Wednesday, with no definable
               catalyst in sight and (in our view) doubt about the credibility of the public
18             information provided by the company to support the long-term investment case
               we are downgrading shares to Market Perform.
19
                                                   *      *       *
20
                       In our view, what is more confusing and concerning is commentary on
21             the total addressable market for foldable display applications, which suggests a
               smaller near-term market opportunity that is growing more slowly than
22             anticipated. Frankly, we are not quite sure how the data could have changed so
               much over such a short time (again, the company’s IPO filings were published
23             less than four months ago), and at this point the company does not have enough
               data to quell our concerns or give us any sense of what the company’s actual
24             pipeline might look like following the in-depth review of the company’s
               operational, financial, product, and commercialization efforts.
25
               142.       On August 4, 2021, HSBC analyst Sriharsha Pappu issued a report titled:
26
      “Downgrade to Reduce from Hold: A catastrophic business update.” He noted the disclosure of
27
      significant problems just three months after the IPO, including multiple fundamental problems
28
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 1 with Hyaline; raised fundamental questions about Zymergen’s ability to bring any products to

 2 market; and made it clear the Company lacked fundamental business insights into its customers

 3 and end markets.

 4             Everything that could go wrong . . . has
 5                     What happened? Three months on from its IPO, Zymergen issued an
               update post market close on 3 August, highlighting significant problems with its
 6             primary product – Hyaline. The company stated that several customers had
               technical issues incorporating Hyaline into their manufacturing plans, that it had
 7             overestimated the size and growth of the market for foldable films and that its
               commercial teams lacked insight into customers’ processes and end users –
 8             resulting in forecasts that overestimated near-term demand. ZY now expects no
               product revenue in ‘21 or ‘22 (consensus ‘22e revenue currently stands at
 9             USD135mn) and is reassessing the fit of its product pipeline, target markets and
               commercial processes. Co-founder and CEO Josh Hoffman has been replaced by
10             Chairman Jay Flatley with immediate effect.

11                     What does this mean? In our ZY initiation (Initiate at Hold, Platforms need
               to scale, 6 July 2021) we made the point that all of the chat around code base, AI,
12             robotics, machine learning, pathways, database, etc, eventually needs to result in
               products that generate revenue – and this update raises fundamental questions
13             about ZY’s ability to bring products to market. Hyaline wasn’t just the lead
               product in ZY’s portfolio, it was also the proof point for their whole biofacturing
14             model and the platform that would have bolstered confidence around the rest of
               the portfolio. With the rest of the product pipeline being early-stage, the
15             disclosure of multiple fundamental problems with Hyaline – at this late stage –
               brings the entire pipeline into question.
16
                        Fundamental questions with the business model. We wrote in our
17             initiation about the challenges of bringing products to market across multiple end
               markets – and it is clear from the update that the company lacks fundamental
18             business insights into its customers and end markets. The company might have
               to pivot to a partnership model from an “at risk” product development model to
19             have a viable business model.
20                     Downgrade to Reduce, TP USD8 from USD42; a long road to re-
               establishing credibility lies ahead. With this one update, ZY has gone from a
21             fledgling Synbio platform to a turnaround story, needing to rebuild credibility
               around its products, technology and business model. The stock (down c70% after
22             hours) is likely to now go from “presuming scale” to “show me” mode on its
               pipeline. Downgrade to Reduce.
23
               143.       On August 4, 2021, Schenkel issued a report downgrading the stock from
24
      Outperform to Market Perform and noting his surprise that such material adverse disclosures were
25
      made so soon after the IPO.
26

27

28
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 1             How Could Things Change so Much in the 72 Days Since The Last Earnings
               Call?
 2
                       The Board of Directors is wondering the same thing – it was noted that this
 3             situation is taken extremely seriously. Thus, the change in leadership and
               organizational evaluation. (For what it is worth, we noted that ZY was early at the
 4             time of our initiation and that there was risk – that said, we are very surprised that
               something this material could go wrong this quickly.)
 5
                                                  *       *       *
 6
               Was There Any Intentional Wrongdoing (Why Change CEO)?
 7
                       At this point, there is nothing to suggest that any of this was intentional
 8             wrongdoing. That said, the breakdown in process was so material and so close to
               the IPO and recent (first) earnings call that the BoD ostensibly had a difficult
 9             decision on leadership credibility – this led to naming former ILMN CEO Jay
               Flatley active ZY CEO.
10
                                                  *       *       *
11
               What Do We Think?
12
                       We believe we have no choice but to downgrade to Market Perform (which
13             we do not like to do after the news) – pending more details on the outcome of the
               BoD’s evaluation, we cannot recommend purchase of ZY shares. Our concerns are
14             somewhat assuaged by Jay Flatley’s willingness to step in as acting CEO and
               assertions that this is not a technical issue. That said, there is little precedent (even
15             for an early stage company) to have to make a change like this.
16             144.       On August 4, 2021, T. Peterson issued a report in which he downgraded the stock,

17 noted the adverse disclosures about Hyaline and the total addressable market for foldable display

18 applications causing the Company to no longer expect product revenues in 2021, and immaterial

19 product revenues in 2022. Moreover, he noted that the Company’s previous representations about
20 the total addressable market for foldable display applications were overstated and that J.P. Morgan

21 had never been in the position of seeing a CEO change and significant revenue reset so soon after

22 an IPO.

23             Hard to Synthesize . . . CEO Transition & Product Launch Pushouts Announced
               Amidst TAM Realignment, Downgrade to Neutral
24
                      We are downgrading our rating on Zymergen (ZY) from Overweight to
25             Neutral after the business update and conference call. Specifically, the Board has
               appointed Chairman Jay Flatley (former ILMN CEO) as acting CEO after recently
26             becoming aware of issues with the product pipeline that will impact delivery
               timelines, which resulted in the departure of former CEO Josh Hoffman. Looking
27             closer, during 2Q, several target customers experienced technical issues
               implementing Hyaline into their manufacturing processes (product shrinkage at one
28             customer site, which has largely been addressed, while material compatibility with
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 1             certain manufacturers’ processes remains a work in progress). Combined with an
               initially overstated TAM for foldable electronic devices (based on bad market
 2             data and slower foldable device uptake), ZY no longer expects product revenues
               in 2021 (vs. JPMe product revenue of $13M) and immaterial product revenues
 3             in 2022 (vs. JPMe product revenue of $117M). To address the challenges, the
               company is evaluating data on the TAM for foldable display applications, which
 4             indicates a smaller market opportunity growing less rapidly than anticipated
               (thinner pipeline of end-users), which will impact ZY’s sales forecast for biofilms.
 5             As it relates to the long-term viability of the platform, interim CEO Jay Flatley
               relayed confidence by stating that there are no intrinsic issues, but rather a
 6             disconnect between the commercial team and understanding of end-markets,
               with ZY’s focus now to reliably manufacture products that “hit the market when
 7             the market is ready”. As part of the TAM evaluation, ZY has formed several
               committees (including a Strategic Oversight Committee) to conduct an in depth
 8             review of the sales forecasting process, pipeline commercialization plans and TAM
               analysis. Stepping back, we are adjusting our model to reflect the newfound
 9             uncertainty of the product launches and while we acknowledge the long-term
               viability of the synbio platform, with little to no visibility on product TAMs,
10             customer pipelines or leadership, we downgrade to Neutral, while rolling our DCF
               to establish a Dec. 2022 PT of $12.
11
                         2Q preliminary results. ZY also reported preliminary 2Q revenues of $5-
12                        6M (vs. JPMe $4M), all from R&D service and collaboration revenues,
                          while non-GAAP OPEX is expected to be $80-85M. ZY is currently
13                        developing a plan to reduce and align expenses with the changes in revenue
                          expectations (no guidance was given at this point).
14
                         Downgrading to Neutral on lack of visibility. Admittedly, we have never
15                        been in this position, with a CEO change and significant revenue reset so
                          soon post-IPO (2022 revenues now expected to be “immaterial” vs. Street
16                        at $132M), so we do not make the decision lightly, but in the absence of
                          visibility around a turnaround plan, ability to recruit a CEO and the
17                        revenue ramp, we are hard pressed to see near-term upside,
                          notwithstanding our high regard for interim CEO Jay Flatley.
18
               F.         September 23, 2021 – October 21, 2021: Zymergen and the Financial
19                        Press Report Additional Facts Demonstrating the Registration
                          Statement Was Inaccurate and Materially Misleading, and the
20                        Financial Press Likens the Implosion of Zymergen to that of Theranos
21             145.       On September 23, 2021, investors learned of additional negative impacts from the

22 numerous problems revealed on August 3, 2021.                Zymergen announced it was terminating

23 approximately 120 employees as part of preliminary phase of the Company’s plan to reduce costs

24 to align with the delayed revenue ramp up previously disclosed on August 3, 2021. The Company

25 also disclosed it would incur an estimated $4.5 million of severance and employee-related

26 restructuring costs related to the reduction in force.

27             146.       On October 21, 2021, Zymergen filed a Report on Form 8-K with the SEC in which

28 it revealed more negative impacts from the numerous problems reported on August 3, 2021.
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 1 Zymergen announced a second reduction in force of approximately 100 employees, which would

 2 result in approximately $4.2 million of severance and employee-related restructuring costs.

 3             147.       In addition, the Company reported it expected to incur impairment charges of

 4 $15 million for certain manufacturing equipment as a result of its restructuring activities and might

 5 incur additional restructuring and impairment charges in 4Q21, including lease expenses.

 6             148.       Zymergen also reported it had amended its Credit Agreement due to its violation of

 7 revenue covenants. The amended Credit Agreement required Zymergen to: (i) shorten the term of

 8 the Credit Agreement by moving the maturity date from December 19, 2024 to June 30, 2022;

 9 (ii) increase the amount of the liquidity covenant; (iii) make a $41 million payment, including a

10 $35 million principal prepayment; and (iv) deposit the remaining outstanding balance of the loan

11 plus accrued interest through the maturity date in a blocked account controlled by the

12 Administrative Agent, which was subject to release from the blocked account upon the

13 Administrative Agent’s completion of due diligence to its reasonable satisfaction regarding the

14 Company’s anticipated operating costs and budget through the maturity date.

15             149.       Investors also learned that co-founder Jed Dean had notified the Company of his

16 decision to step down, effective October 31, 2021.

17             150.       The financial press likened the rapid rise and fall of Zymergen to that of Theranos

18 and reported facts indicating the representations in the Registration Statement were materially

19 misleading, including the representations about Hyaline; the total addressable market for foldable
20 display applications; and when the Company’s products, including Hyaline, would generate

21 revenue.

22             151.       On September 30, 2021, the San Francisco Business Times published an article

23 titled “The rise and fall of Zymergen: Can biotech veteran Jay Flatley save the company?” likening

24 the rapid rise and fall of Zymergen to that of Theranos:

25                       In its rapid rise and equally quick fall as a huge potential turned to imminent
               peril, it is hard not to hear echoes of Theranos in Zymergen’s emerging difficulties.
26
                       To be sure, there are parallels with the Palo Alto and East Bay-based blood
27             testing company, once valued at $9 billion but now at the center of a high profile
               fraud trial for its enigmatic founder. Theranos and Zymergen share high valuations,
28
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 1             the promise of disrupting an old-school industry, a penchant for corporate secrecy
               and a fondness for signing large leases to meet swelling workforces.
 2
               152.       On October 13, 2021, Barron’s published an article titled “The Inside Story of How
 3
      SoftBank-Backed Zymergen Imploded Four Months After Its $3 Billion IPO.” The article
 4
      reported Zymergen’s market capitalization was $3 billion following the completion of the IPO and
 5
      that “[j]ust four months later” the Company made the “stunning announcement” on August 3,
 6
      2021, that caused the stock to tank, wiping out more than $2.5 billion in market value.
 7
               153.       The article also included facts indicating the representations in the Registration
 8
      Statement were materially misleading, including the representations about Hyaline; the total
 9
      addressable market for foldable display applications; and when the Company’s products, including
10
      Hyaline, would generate revenue. Indeed, it was reported that Hoffman used exaggerated financial
11
      figures and made overly optimistic projections about the Company’s capabilities, both internally
12
      and externally.
13
               According to a former senior-level employee at Zymergen, Hoffman used
14             exaggerated financial figures and made overly optimistic projections about the
               company’s capabilities, both internally and externally. The former employee –
15             who retains a vested interest in the company – recalls Hoffman’s response when
               he was confronted about this behavior: “Never underestimate the power of the
16             greater fool.”
17             154.       In fact, the article reported that such disclosure problems began surfacing long

18 before the IPO.

19                    Problems began surfacing long before the IPO. At an all-hands meeting in
               early 2018, for instance, Hoffman walked on stage to deliver a status report to his
20             roughly 500 employees. The company had just acquired Radiant Genomics, a
               genomic database company, after a year and a half courtship.
21
                      According to the former Zymergen employee, the two Radiant co-founders
22             – Jeff Kim and Oliver Liu – had agreed to the acquisition after being shown
               Zymergen’s internal pipeline, which showed projected contract sizes worth billions
23             by 2021. At the time, Radiant posted revenue just under $10 million, according to
               the employee, who became familiar with both companies’ financial statements
24             through the due diligence process. Prior to the deal’s close, Radiant was told that
               Zymergen was on track to book three times that amount for 2017, the employee
25             says. Liu didn’t respond to requests for comment and Kim declined to comment.

26                    As the gregarious Hoffman delivered his speech at the meeting, he shared
               with employees Zymergen’s annual revenue number: just under $10 million. “Wait
27             a minute,” the former employee remembers thinking. “That’s Radiant’s figure.
               That’s exactly Radiant’s figure which indicated to me that Zymergen had zero in
28             revenue.”
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 1             155.       Barron’s also reported that the SEC had concerns about the Company’s disclosures

 2 before the IPO in connection with its review of draft registration statements submitted by

 3 Zymergen. It referenced the letter the SEC sent to Zymergen in February 2021:

 4                      The Securities and Exchange Commission had concerns as well . . . .
               Correspondence in February with the SEC showed that regulators questioned the
 5             company’s plans for growing revenue and profitability, its current financial
               condition and its outstanding indebtedness, which included a $100 million credit
 6             facility at the time of the IPO. It also asked the company to stop comparing its
               products to Kevlar, a strong and heat resistant fiber developed by chemicals giant
 7             DuPont that is used in bulletproof vests, tires and more as it does not appear to be
               relevant comparison, according to a letter from Katherine Bagley at the SEC’s
 8             Division of Corporate Finance. The SEC declined to comment for this article or
               confirm or deny that it is now investigating Zymergen.
 9
               156.       Not surprisingly, Barron’s reported the stunning disclosures on August 3, 2021,
10
      indicated the Underwriter Defendants and Zymergen’s Board of Directors failed to conduct
11
      appropriate due diligence, and that the Controlling Stockholders were also to blame.
12
                       When high-profile companies like WeWork or Theranos unravel, company
13             founders often take the blame. But for these venture-backed companies, there’s
               lots of blame to go around. Investors such as SoftBank enable founders, then pass
14             on their investments to the public through IPOs. Underwriters, too, like Goldman
               Sachs and J.P. Morgan in Zymergen’s case, may be failing to do the appropriate
15             due diligence (Goldman Sachs did not respond to a request for comment and a
               spokesperson for J.P. Morgan declined to comment). Likewise the boards of
16             venture-backed companies have a duty to ensure that company filings and
               projections are accurate and reliable, says John C. Coffee, Jr., a law professor at
17             Columbia University.

18                     “In the course of preparing the registration for the IPO, you would normally
               have a good deal of due diligence done by all the people at the law firms of the
19             company and the underwriters. They apparently didn’t detect this problem at all.”
               Coffee says. “We may have another instance of highly competent people failing to
20             vet a new company and just believing in the founder’s endearing tale.”

21             157.       Further, Barron’s reported that Flatley acknowledged the validity of concerns about

22 the Company’s credibility following the August 3, 2021 disclosures.

23                     Zymergen hasn’t commented publicly on the crisis since Hoffman departed
               in August, except in a call that month with investors at which Flatley, the interim
24             CEO, acknowledged the validity of concerns about the company’s credibility. “I
               want to perhaps state the obvious that we are taking this situation extremely
25             seriously,” Flatley said during the call, noting that the firm had formed a strategic
               oversight committee and planned to conduct an in-depth review with the support of
26             outside advisors. “We’re focused on reestablishing the credibility of the leadership
               team and the company. We recognize this will not happen over weeks or months,
27             but will require consistent quarter-after-quarter execution against a credible plan.”

28
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 1             G.         November 3, 2021: Zymergen Reports Six of the Eleven Products
                          Featured in the Registration Statement Will Be Discontinued
 2
               158.       On November 3, 2021, Zymergen reported its preliminary 3Q21 results and
 3
      revealed more unexpected negative news, which, like the statements on August 3, 2021,
 4
      established the Registration Statement contained untrue statements of material facts and omitted
 5
      facts necessary to make the statements made not misleading. However, the Company failed to
 6
      disclose other unexpected negative news – that government agencies, including the SEC – had
 7
      requested information from the Company related to the unexpected adverse disclosures on
 8
      August 3, 2021. That material adverse information was not disclosed until November 15, 2021,
 9
      when Zymergen reported the multiple government inquiries in the Company’s 3Q21 Report on
10
      Form 10-Q filed with the SEC.
11
               159.       In the November 3, 2021 earnings release and conference call, Zymergen revealed
12
      it was discontinuing Hyaline, the main product featured in the Registration Statement, and all but
13
      one of the electronics film program products. It also revealed that all consumer care programs,
14
      including the insect repellent product featured in the Registration Statement, were being
15
      discontinued.       Thus, the Company revealed that six of the 11 products highlighted in the
16
      Registration Statement had been discontinued and would not generate any revenue for the
17
      Company.
18
               160.       Zymergen also reported it had eliminated approximately 220 positions, which, with
19
      reductions in overhead spending, would still result in a burn rate that would cause the Company to
20
      run out of cash in little more than a year. In the press release, the Company reported the following:
21
                       Since the previous business update in August, the Company has reviewed
22             the potential market opportunities and its related portfolio, using a rigorous
               evaluation process applied to current and potential market segments. As a result of
23             this review, the Company will focus on a smaller number of programs that it
               believes capitalize on its capabilities and provide clear commercial opportunities.
24
               Accordingly, several programs will be discontinued, including:
25
                         The electronics film programs, with the exception of ZYM0101, which is
26                        being developed in partnership with Sumitomo Chemical. Emerging data
                          on the market segment being targeted with Hyaline and other electronics
27                        films indicates a smaller near-term opportunity than previously expected.
28
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 1                       The consumer care programs, including insect repellent, ZYM0201.
                          Based on the portfolio review, the costs of customer acquisition with a
 2                        direct-to-consumer model were prohibitive and, in the case of ZYM0201,
                          it could not be produced and distributed at a price point competitive with
 3                        incumbent products.
 4                     As a result of these changes, the Company eliminated approximately 220
               positions across a variety of levels and functions. These decisions, along with a
 5             reduction in related overhead spending, are expected to slow the Company’s cash
               burn rate sufficiently to operate to the middle of 2023 with cash on hand.
 6
               161.       The Company also revealed it would have run out of cash in 3Q21 had it not raised
 7
      $529.9 million from the IPO.           Zymergen reported that cash and cash equivalents totaled
 8
      $496.2 million as of September 30, 2021, a $91.8 million decline from the $588 million of cash
 9
      and cash equivalents reported as of June 30, 2021.            The Company reported a net loss of
10
      $283.6 million for the nine months ending September 30, 2021.
11
               162.       During the earnings call, Flatley made numerous statements that also establish the
12
      Registration Statement contained untrue statements of material facts and omitted facts necessary
13
      to make the statements made not misleading.
14
               163.       Flatley repeated the information included in the earnings release; summarized the
15
      work Zymergen had done to date; and shared a high level overview of the Company’s forward-
16
      looking (and much smaller) portfolio of products, which he claimed would provide a general sense
17
      of the Company’s direction. He admitted more bad news would likely arrive in the future – but
18
      failed to mention the inquires by the SEC and other government agencies – by also revealing that
19
      full details of the Company’s future direction would not be provided until the Company completed
20
      its strategic plan around year end.
21
               164.       Flatley revealed Zymergen did not have adequate resources to support the 30
22
      different programs on which the Company was working and therefore eliminated two programs
23
      Flatley admitted were prominent in the Company’s public plans.
24
                       Let me now share some additional details. Our portfolio review indicated
25             that we are working – we were working on at least 30 different programs, far too
               many to adequately resource. It was imperative that we narrow our focus to a
26             smaller number that we believe capitalize on our strengths and provide clear
               commercial opportunities. That resulted in decisions to pause or eliminate
27             several programs while promoting others to a higher level of investment.
28
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 1                     A critical highlight is the cancellation of 2 programs that were prominent
               in our public plans, Hyaline, known as ZYM102 (Phonetic) and our direct-to-
 2             consumer insect repellent referred to as ZYM201 (Phonetic). In the case of
               Hyaline films, we no longer have conviction in the market opportunity. To be
 3             clear and contrary to many published reports, the product worked as designed, the
               underlying technology and science are sound.
 4
                      The technical issues that I discussed on our August call caused delays but
 5             were quickly resolved by our teams, and were not a factor in our decision to halt
               the project. In fact, at the time we canceled the program, we have made tens of
 6             thousands of square meters of Hyaline. The issues we uncovered were
               commercial. We look more closely at the foldable display market and the
 7             emerging data on the market segment that we targeted with Hyaline and other
               electronic films indicated a smaller near-term opportunity than we initially
 8             expected.
 9                     As a result, we stopped work on our electronic films programs but are
               continuing work on our ZYM101 film in partnership with Sumitomo. We will also
10             continue to explore and develop bio-based polyimides in several different form
               factors, which we expect will add value to potential future products, not just in
11             electronics, but other markets as well.

12                     In the case of our insect repellent and other consumer care programs, our
               reviews show that the cost of customer acquisition with a direct-to-consumer
13             model would have been prohibited for Zymergen. While the product performance
               was satisfactory, it could not be produced and distributed at a price point
14             competitive with the incumbent products. With this assessment, we’ve decided to
               park all our efforts in consumer care. We have, however, developed strong IP
15             and technology around bioactives and remain open to potential future partnerships
               in clean consumer care.
16
               165.       Singh, the Company’s CFO, revealed some of the costs related to the discontinued
17
      Hyaline and consumer care products, stating that operating expenses in 3Q21 were $39.1 million,
18
      an 80% increase from the prior year, and that the increase was primarily related to work on Hyaline
19
      and the insect repellent product prior to the decision to discontinue those products.
20
               166.       Singh also acknowledged the Company’s precarious financial condition, stating
21
      Zymergen did not expect any product revenue in 2021, and only immaterial product revenue in
22
      2022. As a result, Singh explained that without visibility into near-term product revenue, one of
23
      the Company’s top priorities was to closely manage expenses, including the reductions in force
24
      implemented in September and October, and the narrowed focus on a smaller number of programs.
25
               167.       Before taking questions, Flatley acknowledged the Company needed to accelerate
26
      revenue generation while rebuilding stakeholder confidence. The questions from the analysts
27
      established that rebuilding stakeholder confidence would be difficult. Indeed, the first question
28
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 1 was from DeBruin, who asked Flatley why investors should remain confident in the agriculture

 2 programs, the only programs in the Registration Statement (other than the optical film partnership

 3 with Sumitomo and the bio-based epoxy product) that were not discontinued.

 4             168.       Cowen analyst Thomas Stevens asked Flatley why any customer would choose to

 5 work with Zymergen and how the Company could explain its value proposition given the pipeline

 6 changes and changes in the sales force.

 7             169.       Investors also learned Zymergen’s future was too uncertain to even try to recruit a

 8 new CEO. In response to a question from J.P. Morgan Chase analyst Rachael Olson about the

 9 status of recruiting a permanent CEO, Flatley acknowledged the problems at Zymergen were too

10 large to recruit a new CEO until the Company developed a credible and defensible strategic plan.

11                     Yes. So, we have not started the process yet and that’s by choice. So, the
               decision that I made, along with the Board of Directors is that we as priority 1, 1
12             and 2 make sure that we right size the Company, got our processes fixed, got our
               development teams really focused on the products, the new products in the pipeline
13             that we write a strategic plan that we all believe in, that has credibility and is
               defensible. And at that point, we believe we could credibly go recruit a world-class
14             CEO. Prior to that, I think it would be challenging to sit across the table to try to
               recruit someone without a plan that you had conviction in and so our intent is to
15             begin working on the recruiting process early in 2022.

16             170.       Responding to a question from UBS analyst John Sourbeer, Flatley also revealed

17 there was “no chance” the discontinued consumer care programs highlighted in the Registration

18 Statement were going to be profitable.

19                    [Sourbeer:] I guess just one on the consumer care programs. You
               highlighted that some of the costs were prohibitive on the direct-to-consumer
20             model. Can you just maybe elaborate a little bit there on what specific areas you
               saw there on the costs that you highlighted?
21
                       [Flatley:] Sure. So, the history of those programs were that the company a
22             few years back was thinking that it may want to partner those programs and – with
               a big consumer company, and those partnerships didn’t reach any conclusion. And
23             so, the decision then was made to go direct-to-consumer. And as we analyze this
               recently over the last 30 days, particularly with only a single product in the
24             portfolio in the near term, which would have been our insect repellent. The cost
               of hiring a direct sales force supporting that and building the infrastructure was
25             quite prohibitive. So, if you look at the profitability profile over the next 3 years,
               there was no chance that, that product was going to be profitable. And so for that
26             reason, we’ve parked it, and it doesn’t mean that we’re abandoning the consumer
               care market because we continue to believe that the technology has great
27             applicability there. And we can create products in that space. It’s a question of us
               being – having a financial footing where we can either take the products directly to
28             market ourselves and afford to make that investment or in the alternative, we
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 1             develop a partner that we either license the technology to or jointly develop and
               distribute the products.
 2
               171.       Flatley and Singh also confirmed Zymergen would not receive any revenue from
 3
      the discontinued Hyaline product and the Company could not provide any revenue guidance other
 4
      than stating immaterial revenues were expected in 2021 and 2022:
 5
               [Sourbeer:] And I guess just another one just a little bit on the cash burn and cash
 6             on hand through 2023. I think in the last update, there were – was talk is still
               launching Hyaline in ‘22 and maybe having some revenues in ‘23. Any additional
 7             color you can provide on that? Does that assume any meaningful revenues in 2023?
               Or just any way to think about follow-on product launches there?
 8
                       [Flatley:] Yes. I think we’ve been pretty clear on Hyaline that we’ve really
 9             canceled that program now. And so we should expect no revenue from Hyaline
               coming from the company at any point in time. Now, there’s theoretically a
10             chance that if the market changed in some dramatic way that the company could
               reevaluate in the future. And as I alluded to in my remarks, the underlying material
11             that’s used in Hyaline has potential other applications. And so, we’re exploring
               those. So it’s – the R&D work that went into creating that novel material could
12             have future value. But at this point, I’d say it’s unlikely it’s going to be in the films
               market.
13
                       [Sourbeer:] I guess I was more trying to get at, when you say the cash burn
14             through 2023, does that assume product launches in revenue generation in ‘23, is
               there any revenue in that model?
15
                       [Flatley:] Yes. As I mentioned earlier, we haven’t talked about ‘23 yet.
16             We’ve really given some clarity around what we expect in ‘22. As we complete
               the plan here over the next couple of months, we’ll get greater visibility on the
17             relative ramp of the products that we now have in the pipeline and solidify our
               internal forecasts, probably not just ‘23, but all the way through ‘24 and we’ll
18             decide at that point what external guidance we give.

19                    [Singh:] But we still expect product revenue to be immaterial, right, in
               2022, including in the end of 2022.
20
               172.       In response to a question from Goldman Sachs analyst Dave Delahunt, Flatley
21
      admitted that the Company’s previous strategy of creating, manufacturing and distributing
22
      products on its own was not tenable.
23
               [Delahunt:] And with the strategic review, has that affected how you think about
24             potential partnerships? And maybe, are you pretty more inclined now to work with
               project – with partners on projects instead of taking 100% product risk?
25
                        [Flatley:] Yes. I think it has influenced us to some extent. And the way it
26             has is that previously, the company was focused not only on creating the product,
               but also manufacturing it and distributing it, in many cases, not in every case.
27             And I think both because of cost constraints and of reasons of time to market, we
               decided to pull that part of the strategy in and really focus on creating the
28             products and doing more partnering, both for the manufacturing and distribution
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 1             side of this. And so that both saves money because we don’t have to build a direct
               sales force as we would have had to do in consumer care, as an example, or to build
 2             things like GMP manufacturing, which we might have had to do in other product
               areas as well. And so, we can save the money there, which is a large investment
 3             and a time delay to market. And so, we continue to develop the products largely
               ourselves, sometimes in partnership, but much of the manufacturing and
 4             distribution will be through partners in the near term.

 5             173.       In response to a question from William Blair & Company analyst Maxwell Smock,

 6 Flatley acknowledged a primary reason one of the three electronic film products, ZYM0101, was

 7 not being discontinued was that it was being developed in partnership with Sumitomo.

 8             [Smock:] And then, I just wanted to dig in a little bit more on ZYM0101 and your
               decision to keep that program alive. I mean, was that decision based – just based
 9             on your partnership with Sumitomo? Or is there something unique about that
               market or that product that gave you more comfort in your ability to commercialize
10             it down the line?

11                     [Flatley:] There were 2 factors and at least 2 factors, let me say that. Clearly,
               the fact that it was partnered was a huge part of this so, that we didn’t have the
12             expense of distributing the product or manufacturing it. So much of the risk then
               of the program is taken on by Sumitomo in partnership. So, that was a very
13             important factor. The second factor is that if this material is successful as we hope,
               it has very broad applicability across all types of devices. And so it has a more
14             general applicability than perhaps Hyaline did. And so that’s the second
               distinguishing factor.
15
               174.       Following the November 3, 2021 earnings call, Zymergen’s stock price declined
16
      $0.93, or 8.1% from $11.43 on November 3, 2021, to $10.50 on November 4. 2021.
17
               175.       Analysts issued reports in which they noted that the discontinuation of Hyaline, one
18
      of the other optical film products and all of the consumer care products were disappointing and a
19
      “key part of the thesis during the IPO” and “prominent in [Zymergen’s] initial plans.”
20
               176.       On November 4, 2021, T. Peterson issued a report in which he wrote that
21
      J.P. Morgan was disappointed in the discontinuation of several key programs (including Hyaline,
22
      one of the other electronic film programs and all consumer care programs) and noted that all of
23
      the discontinued programs “had been a key part of the thesis during the IPO.”
24
               177.       Similarly, Larew issued a report on November 4, 2021, in which he noted that the
25
      discontinued products “were prominent in [Zymergen’s] initial plans.” He also reported that
26
      William Blair & Company had not seen “any proof that the company can monetize its platform”
27

28
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 1 and that “there [was] still a considerable amount of uncertainty around the company’s commercial

 2 pipeline and broader strategy.”

 3             H.         November 15, 2021: Zymergen Reports that Multiple Government
                          Agencies, Including the SEC, Are Investigating the Company
 4
               178.       On November 15, 2021, Zymergen filed its 3Q21 Report on Form 10-Q with the
 5
      SEC and disclosed that government agencies, including the SEC, had requested information from
 6
      the Company related to the unexpected adverse disclosures on August 3, 2021.
 7
               I.         December 9, 2021 – January 10, 2022: Additional Disclosures Show
 8                        the Dramatic and Material Adverse Impacts on Zymergen’s Business
                          Since the IPO
 9
               179.       On December 9, 2021, Seeking Alpha published an article titled “Zymergen: Total
10
      Chaos.” The opening paragraph of the article succinctly explained the dramatic change at
11
      Zymergen since the IPO, which caused Class members to suffer millions of dollars in damages –
12
      going from a Company launching Hyaline and preparing to rapidly scale up production and
13
      revenue, to a Company that had abandoned Hyaline and other products and was dramatically
14
      cutting headcount and cash burn in an effort to avoid bankruptcy.
15
                       Zymergen . . . listed in April 2021 and, after recently launching their
16             Hyaline product were supposedly preparing to rapidly scale up production and
               revenue. In August, they indicated that there was an issue integrating Hyaline into
17             the manufacturing process of customers, which would temporarily delay rollout of
               the product. The CEO was replaced at the same time though and Zymergen
18             appeared to freeze hiring, indicating that the problems were far larger than the
               company was letting on. In November, Zymergen announced that they were
19             abandoning their two main products, rationalizing their product portfolio and
               dramatically cutting headcount to reduce cash burn. Zymergen no longer has a
20             clear path to profitability and rather than focusing on growth, the company is clearly
               positioning to avoid bankruptcy. Zymergen does not have the narrative of Ginko
21             Bioworks . . . or the revenue growth of Amyris . . . , and there is a real risk of high
               caliber employees abandoning the company for better opportunities. While
22             Zymergen’s intellectual property is likely worth a significant amount and the
               company may be able to turn itself around, I consider the company uninvestable
23             given the way management has failed to provide investors with clarity over the last
               six months.
24
               180.       During a January 10, 2022 presentation at a JPMorgan Healthcare conference
25
      Flatley revealed additional fallout from the unexpected adverse disclosures on August 3, 2021 and
26
      November 3, 2021. After acknowledging the challenges in 2021, Flatley stated that the issues with
27
      the commercial product pipeline caused a business reset that impacted the Company’s revenue
28
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 1 projections and product roadmap. Indeed, he acknowledged that dramatic steps had been taken to

 2 operationally restructure and transform the Company including the elimination of almost half of

 3 Zymergen’s workforce.

 4                    Let me begin by acknowledging the challenges that we had in 2021. As we
               discussed in our August and our subsequent earnings call, issues with our
 5             commercial product pipeline caused a business reset that impacted the company’s
               revenue projections and product road map. After a lot of hard work by our teams,
 6             we’ve exited 2021 with a clear focus on who we are and on what we do.

 7                      Zymergen is a biotech company that designs and produces molecules,
               microbes and materials for diverse end markets. Having a clear mission and vision
 8             is critically important, but ultimately, it’s execution that matters. In the last 5
               months, we’ve taken dramatic steps to operationally restructure and transform
 9             the company. First, we reorganized our teams. This reduced our head count
               from approximately 900 to about 500, focused on creating a much more efficient
10             organization by eliminating leadership layers and consolidated distributed
               functions.
11
                                                  *      *      *
12
               [We] did a deep dive on our program investments, and we optimized the portfolio
13             across the key factors that drive market success. As a result, we stopped to work
               on a significant number of programs, and are focusing now on a handful of
14             higher potential ones.
15             181.       However, Flatley acknowledged that the negative financial impact on Zymergen

16 would continue for at least another year and possibly longer, stating that the Company thought it

17 would begin to have product revenue in the 2023 timeframe.

18             182.       In addition, Flatley admitted that the potential market opportunity for the one

19 optical film product that was not discontinued, the product being produced in partnership with
20 Sumitomo, was still uncertain, stating that there was either going to be significant revenue or

21 potentially zero revenue.

22                     [Olson:] And then shifting gears to project ZYM101. So the film
               partnership that you have with Sumitomo. Can you just talk about the decision to
23             retain that project but then for go the other film projects that you’re tackling? And
               then what should we expect in terms of commercialization timing for this project?
24             And is there any opportunity to pull that forward just given you have a more narrow
               focus on your projects now?
25
                       [Flatley:] Yes. I mean that partnership is going well. We continue to invest
26             in it as Sumitomo does. We believe that much like the Hyaline product, the
               technology – the underlying technology works. And the reason we decided to
27             continue that one is because there is a very large potential market opportunity at
               the end of the process. But we don’t know. It’s a very digital opportunity, I would
28             say. It’s kind of a 1-0 outcome, either it’s going to be significant revenue for us
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 1             or potentially 0, depending upon what customers they land. And the amount of
               work we need to do on the distribution side of it is de minimis because all of that
 2             customer interface is being handled through Sumitomo. So it made sense for us to
               continue to make the investments in evolving that Z101 technology and moving it
 3             forward. And so that program is the only one that truly remains in the film part of
               the business at the moment.
 4
               183.       Flatley’s statements about Hyaline, like his previous statements, also indicated the
 5
      representations in the Registration Statement about the foldable display market were materially
 6
      misleading.
 7
                        [Olson:] And then stepping back, just kind of going back to your additional
 8             business update earlier this summer. So investors were really concerned that there
               was a broader technical issue with Hyaline following that first business update call.
 9             It’s clarified during the 3Q call that Hyaline actually worked as designed. But the
               decision to hold the project was just due to the smaller-than-expected TAM. So
10             can you really walk through what happened from a technical perspective with
               Hyaline then?
11
               [Flatley:] Yes. I guess I would reiterate what I said in the presentation. I spent a
12             fair amount of time talking about how we think the underlying technology platform
               works, and works robustly. What happened with Hyaline, and in retrospect, we
13             probably made a mistake in how we presented it. When we talked about the
               challenges there, we began by talking about the fact that we had a couple of
14             month delay because of some process tuning that had to happen with the early
               customers of Hyaline.
15
               We knew from the start that we would figure out those process challenges and
16             overcome them, and we did that. And so those were never going to be barriers to
               long-term adoption. There were simply delays in the potential revenue stream.
17             The big issue with Hyaline, of course, was that the ultimate market was not large,
               not large enough to justify continuation of the program.
18
      V.       CLASS ACTION ALLEGATIONS
19
               184.       Plaintiffs bring this action as a Class action pursuant to Rules 23(a) and (b)(3) of
20
      the Federal Rules of Civil Procedure on behalf of a Class consisting of all persons and entities that
21
      purchased or otherwise acquired Zymergen common stock pursuant and/or traceable to the
22
      Registration Statement issued in connection with the Company’s IPO. Excluded from the Class
23
      are Defendants, the officers and directors of the Company, at all relevant times, members of their
24
      immediate families and their legal representatives, heirs, successors or assigns and any entity in
25
      which Defendants have or had a controlling interest.
26
               185.       The members of the Class are so numerous that joinder of all members is
27
      impracticable.        Throughout the relevant period, Zymergen’s shares actively traded on the
28
      AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1 NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time and

 2 can only be ascertained through appropriate discovery, Plaintiffs believe there are at least hundreds

 3 or thousands of members in the proposed Class. Millions of Zymergen shares were traded publicly

 4 during the relevant period on the NASDAQ. Record owners and other members of the Class may

 5 be identified from records maintained by Zymergen or its transfer agent (American Stock

 6 Transfer & Trust Company, LLC) and may be notified of the pendency of this action by United

 7 States mail, using the form of notice similar to that customarily used in securities class actions.

 8             186.       Plaintiffs’ claims are typical of the claims of the members of the Class as all

 9 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

10 federal law that is complained of herein.

11             187.       Plaintiffs will fairly and adequately protect the interests of the members of the Class

12 and have retained counsel competent and experienced in class and securities litigation.

13             188.       Common questions of law and fact exist as to all members of the Class and

14 predominate over any questions solely affecting individual members of the Class. Among the

15 questions of law and fact common to the Class are:

16                        (a)    whether the federal securities laws were violated by Defendants’ acts as

17 alleged herein;

18                        (b)    whether the Registration Statement was inaccurate and misleading,

19 contained untrue statements of material facts, omitted to state other facts necessary to make the
20 statements made not misleading and omitted to state material facts required to be stated therein;

21 and

22                        (c)    to what extent the members of the Class have sustained damages and the

23 proper measure of damages.

24             189.       A class action is superior to all other available methods for the fair and efficient

25 adjudication of this controversy since joinder of all members is impracticable. Further, as the

26 damages suffered by individual Class members may be relatively small, the expense and burden

27 of individual litigation makes it impossible for members of the Class to individually redress the

28 wrongs done to them. There will be no difficulty in the management of this action as a class action.
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 1 VI.         CLAIMS FOR RELIEF
 2                                          FIRST CLAIM FOR RELIEF
 3                                Violation of §11 of the Securities Act
             (Against Zymergen, the Individual Defendants and the Underwriter Defendants)
 4
               190.       Plaintiffs repeat and reallege each and every allegation contained above as if fully
 5
      set forth herein.
 6
               191.       This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on
 7
      behalf of the Class, against the Zymergen, the Individual Defendants and the Underwriter
 8
      Defendants.
 9
               192.       The Registration Statement for the IPO was inaccurate and misleading, contained
10
      untrue statements of material facts, omitted to state other facts necessary to make the statements
11
      made not misleading and omitted to state material facts required to be stated therein.
12
               193.       Zymergen is the registrant for the IPO. Zymergen, the Individual Defendants and
13
      the Underwriter Defendants named herein were responsible for the contents and dissemination of
14
      the Registration Statement.
15
               194.       As issuer of the shares, Zymergen is strictly liable to Plaintiffs and the Class for the
16
      misstatements and omissions.
17
               195.       Zymergen, the Individual Defendants and the Underwriter Defendants named
18
      herein did not conduct a reasonable investigation or possess reasonable grounds for the belief that
19
      the statements contained in the Registration Statement were true and without omissions of any
20
      material facts and were not misleading.
21
               196.       By reasons of the conduct herein alleged, Zymergen, the Individual Defendants and
22
      the Underwriter Defendants violated and/or controlled a person who violated §11 of the Securities
23
      Act.
24
               197.       Plaintiffs acquired Zymergen shares pursuant and/or traceable to the Registration
25
      Statement for the IPO.
26

27

28
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 1             198.       Plaintiffs and the Class have sustained damages. The value of Zymergen shares

 2 has declined substantially subsequent to and due to Zymergen’s, the Individual Defendants’ and

 3 the Underwriter Defendants’ violations.

 4                                        SECOND CLAIM FOR RELIEF
 5                                  Violation of §15 of the Securities Act
                    (Against the Individual Defendants and the Controlling Stockholders)
 6
               199.       Plaintiffs repeat and reallege each and every allegation contained above as if fully
 7
      set forth herein except any allegation of fraud, recklessness or intentional misconduct.
 8
               200.       This count is asserted against the Individual Defendants and the Controlling
 9
      Stockholders and is based upon §15 of the Securities Act.
10
               201.       The Individual Defendants and the Controlling Stockholders, by virtue of their
11
      offices, directorship and specific acts, were, at the time of the wrongs alleged herein and as set
12
      forth herein, controlling persons of Zymergen within the meaning of §15 of the Securities Act, 15
13
      U.S.C. §77o. The Individual Defendants and the Controlling Stockholders had the power and
14
      influence and exercised the same to cause Zymergen to engage in the acts described herein.
15
               202.       The Individual Defendants’ and the Controlling Stockholders’ positions made them
16
      privy to and provided them with actual knowledge of the material facts concealed from Plaintiffs
17
      and the Class.
18
               203.       By virtue of the conduct alleged herein, the Individual Defendants and the
19
      Controlling Stockholders are liable for the aforesaid wrongful conduct and are liable to Plaintiffs
20
      and the Class for damages suffered.
21
                                              PRAYER FOR RELIEF
22
               WHEREFORE, Plaintiffs pray for relief and judgment as follows:
23
               A.         Determining that this action is a proper class action under Rule 23 of the Federal
24
      Rules of Civil Procedure;
25
               B.         Awarding compensatory damages in favor of Plaintiffs and the other Class
26
      members against all Defendants, jointly and severally, for all damages sustained as a result of
27
      Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;
28
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 1             C.         Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

 2 this action, including attorneys’ fees and expert fees; and

 3             D.         Such other and further relief as the Court may deem just and proper.

 4                                          JURY TRIAL DEMANDED
 5             Plaintiffs hereby demand a trial by jury.

 6     DATED: February 24, 2022                          ROBBINS GELLER RUDMAN
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      AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1                                     CERTIFICATE OF SERVICE

 2             I hereby certify under penalty of perjury that on February 24, 2022, I authorized the

 3 electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

 4 send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

 5 and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

 6 to the non-CM/ECF participants indicated on the attached Manual Notice List.

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